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                                                                                                                                                       EXHIBIT G TO 2255 MOTION
                                                                                1:14-cr-00068-KBF All Defendants USA v. Ulbricht                       PUBLIC DOCKET SHEET
                                                                                                 Date filed: 02/04/2014
                                                                                              Date terminated: 06/01/2015
                                                                                              Date of last filing: 08/08/2018



                                                                                                          History
          Doc.
                                               Dates                                                                                        Description
          No.
                 Filed:                                                 09/27/2013 Oral Order
                 Entered:                                               10/22/2013
                 Docket Text: SEALED ORAL ORDER as to Sealed Defendant 1. (Signed by Magistrate Judge Frank Maas on 9/27/2013)(dif)[1:13-mj-02328-UA]
           1     Filed:                                                 09/27/2013 Complaint
                 Entered:                                               10/22/2013
                 Docket Text: COMPLAINT as to Sealed Defendant 1 (1). In Violation of 21 U.S.C. 846, 18 U.S.C. 1030 & 1956 (Signed by Magistrate Judge Frank Maas) (dif)[1:13-mj-02328-UA]
                 Filed:                                                 10/01/2013 Arrest - Other District
                 Entered:                                               10/22/2013
                 Docket Text: Arrest of Ross William Ulbright in the United States District Court - Northern District of California. (dif)[1:13-mj-02328-UA]
           3     Filed:                                                 10/18/2013 Rule 5(c)(3) - Documents Received
                 Entered:                                               10/22/2013
                 Docket Text: Rule 5(c)(3) Documents Received as to Ross William Ulbright from the United States District Court - Northern District of California. (dif)[1:13-mj-02328-UA]
                 Filed:                                                 11/05/2013 Arrest
                 Entered:                                               11/06/2013
                 Docket Text: Arrest of Ross William Ulbright. (dif)[1:13-mj-02328-UA]
                 Filed & Entered:                                       11/06/2013 Initial Appearance
                 Docket Text: Minute Entry for proceedings held before Magistrate Judge Ronald L. Ellis: Initial Appearance as to Ross William Ulbright held on 11/6/2013., Deft Appears with Retained
                 Attorney Joshua Dratel and AUSA Serrin Turner for the government. Detention Hearing Scheduled for 11/21/13 at 11:00 AM; ( Preliminary Hearing set for 12/6/2013 at 10:00 AM before
                 Judge Unassigned.) (dif)[1:13-mj-02328-UA]
           4     Filed & Entered:                                       11/06/2013 Notice of Attorney Appearance - Defendant
                 Docket Text: NOTICE OF ATTORNEY APPEARANCE: Retained Attorney Joshua Lewis Dratel appearing for Ross William Ulbright. (dif)[1:13-mj-02328-UA]
                 Filed & Entered:                                       11/21/2013 Detention Hearing
                 Docket Text: Minute Entry for proceedings held before Magistrate Judge Kevin Nathaniel Fox: Detention Hearing as to Ross William Ulbright held on 11/21/2013. Deft Appears with Retained
                 Attorney Joshua Dratel and AUSA Serrin Turner for the government. Detention. The Defendant Did Not Overcome The Presumption That There Are No Conditions That Can Be Fashioned to
                 Permit Him To Be At Liberty While The Criminal Action is Pending. Clear and Convincing Evid That The Defendant Sought To Have Several Persons Murdered Was Presented To The Court
                 Which Demonstrate The Defendant Presents As A Danger To The Community. In Addition Considerable Un-Rebutted Evid Was Presented That The Defendant Has The Resources To Flee and
                 Previously Acquired Many False Identification Documents That Would Permit Him to Flee. Furthermore He Has Used an Alias Previously. (dif)[1:13-mj-02328-UA]
           5     Filed:                                                 11/22/2013 Order to Seal Document
                 Entered:                                               11/26/2013
                 Docket Text: SEALED DOCUMENTS FILED as to Ross William Ulbright.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013)(dif)[1:13-mj-02328-UA]



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          6   Filed:                                                 11/22/2013 Endorsed Letter
              Entered:                                               11/26/2013
              Docket Text: LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel Fox from Joshua Dratel, Esq dated 11/19/2013 re: USA v Ross William Ulbright, 13 Mag
              2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket and File(dif)[1:13-mj-02328-UA]
          7   Filed:                                                 11/22/2013 Endorsed Letter
              Entered:                                               11/26/2013
              Docket Text: LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel Fox from Joshua Dratel, Esq dated 11/20/2013 re: USA v Ross William Ulbright, 13 Mag
              2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket and File)(dif)[1:13-mj-02328-UA]
          8   Filed:                                                 11/22/2013 Endorsed Letter
              Entered:                                               11/26/2013
              Docket Text: LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel Fox from AUSA Serrin Turner dated 11/20/2013 re: USA v Ross William Ulbright, 13 Mag
              2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket and File)(dif) Modified on 12/4/2013 (jm).[1:13-mj-02328-UA]
          9   Filed:                                                 12/06/2013 Affirmation in Support
              Entered:                                               12/09/2013
              Docket Text: AFFIRMATION of Serrin Turner in Support by USA as to Ross William Ulbright, the government is requesting a 30-day continuance until 1/6/14.(jbo)[1:13-mj-02328-UA]
          10 Filed:                                                  12/06/2013 Order to Continue - Interest of Justice
             Entered:                                                12/09/2013
              Docket Text: ORDER TO CONTINUE IN THE INTEREST OF JUSTICE as to Ross William Ulbright. Time excluded from 12/6/13 until 1/6/14. (Signed by Magistrate Judge James C. Francis
              on 12/6/13)(jbo)[1:13-mj-02328-UA]
              Filed:                                                 01/06/2014 Order to Continue - Interest of Justice
              Entered:                                               01/07/2014
              Docket Text: ORDER TO CONTINUE IN THE INTEREST OF JUSTICE as to Ross William Ulbright re: [10] Order to Continue - Interest of Justice. Time excluded from 1/6/2014 until
              2/4/2014. Follows oral order of 1/6/2014. (Signed by Magistrate Judge Sarah Netburn on 1/6/2014) (ajc)[1:13-mj-02328-UA]
          11 Filed:                                                  01/06/2014 Affirmation in Support
             Entered:                                                01/07/2014
              Docket Text: AFFIRMATION of AUSA Serrin Turner in Support by USA as to Ross William Ulbright, the Government is requesting a 30 continuance until 2/4/2014. (ajc)[1:13-mj-02328-UA]
              Filed & Entered:                                       02/04/2014 Case Designated ECF
              Docket Text: Case Designated ECF as to Ross William Ulbright. (jbo)
          12 Filed & Entered:                                        02/04/2014 Indictment
              Docket Text: INDICTMENT FILED as to Ross William Ulbricht (1) count(s) 1, 2, 3, 4. (jbo)
              Filed:                                                 02/07/2014 Arraignment
              Entered:                                               02/10/2014
              Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Arraignment as to Ross William Ulbricht (1) Count 1,2,3,4Ross William Ulbricht (1) Count 1,2,3,4 held on
              2/7/2014., Plea entered by Ross William Ulbricht (1) Count 1,2,3,4Ross William Ulbricht (1) Count 1,2,3,4 Not Guilty. Defendant present with attorneys Joshua Dratel and Lindsay Lewis.
              AUSA Serrin Turner present. Special Agent Ilh Wan Yum and Special Agent Gary Alfred present. Court Reporter present. Defendant arraigned on the Indictment and enters a plea of not guilty.
              Order to follow. Defendant remand continued. (jp)
          13 Filed & Entered:                                        02/10/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht ( Discovery due by 2/27/2014., Motions due by 3/10/2014., Replies due by 3/31/2014., Responses due by 3/24/2014, Jury Trial set for
              11/3/2014 at 09:00 AM before Judge Katherine B. Forrest., Status Conference set for 4/30/2014 at 01:00 PM before Judge Katherine B. Forrest.) Time excluded from 2/7/14 until 4/30/14. Not
              later than 2113/2014, defense counsel shall provide the Government with hard drives of sufficient storage size so that the Government can copy the electronic discovery and turn it over to the
              defendant. Not later than 2/27/2014, the Government shall provide to the defendant the above electronic discovery. Non electronic discovery shall be provided to the defendant not later than
              2/20/2014. All discovery is to be completed not later than 2/27/2014. Motions relating to the Indictment are to be filed not later than 3/10/2014. Responses are due not later than 3/24/2014.




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              Replies, if any, are due 3/31/2014. Trial is scheduled to commence on 11/3/2014, at 9:00 a.m. Six weeks have been allocated at this time. A final pretrial conference will be held on 10/28/2014,
              at 1:00 p.m. Upon application of the Government and consented to by defendant, and as set forth on the record, time pursuant to 18 U.S.C. 3161 (h)(7)(A) of the Speedy Trial Act, is hereby
              excluded from 2/7/2014, to 4130/2014. The Court finds the ends of justice are served by such an exclusion and that these ends outweigh the interests of the public and defendant in a speedy
              trial (Signed by Judge Katherine B. Forrest on 2/10/14)(jw)
          14 Filed & Entered:                                         02/24/2014 Protective Order
              Docket Text: PROTECTIVE ORDER as to Ross William Ulbricht...regarding procedures to be followed that shall govern the handling of confidential material.... (Signed by Judge Katherine B.
              Forrest on 2/24/14)(jw)
          15 Filed & Entered:                                         02/24/2014 Sealed Document
              Docket Text: SEALED DOCUMENT placed in vault. (nm)
          16 Filed & Entered:                                         02/25/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 2/25/2014 re: To request that the discovery deadline set by
              the Court in this matter for February 27, 2014 be extended by 12 days until March 11, 2014.ENDORSEMENT: SO ORDERED ( Discovery due by 3/11/2014.) (Signed by Judge Katherine B.
              Forrest on 2/25/14)(jw)
          17 Filed & Entered:                                         03/10/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Attorney Joshua L. Dratel dated March 7, 2014 re: For the reasons set forth in
              this letter, counsel requested that the Court grant a ten-day extension until Thursday, March 20, 2014, for the filing of the Defendant's Pre-Trial Motions. Assistant United States Attorney
              Serrin Turner has informed me that the government consents to this request as long as the government's time to respond is extended until April 10, 2014, which includes an additional week
              beyond the mere adjustment of the motion schedule because AUSA Turner will not be available the week of March 24th. ENDORSEMENT: Application granted. Dates adjusted as set forth
              above. (Signed by Judge Katherine B. Forrest on 3/7/2014)(bw)
          18 Filed & Entered:                                         03/19/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 3/19/14 re: For the reasons set forth below, it is
              respectfully requested that the Court grant an additional eight-day extension until Friday, March 28, 2014, for the filing of the Defendant's Pretrial Motions. Assistant United States Attorney
              Serrin Turner has informed me that the government consents to this request as long as a corresponding extension, until April 18, 2014, is provided for the government..ENDORSEMENT:
              Application Granted. SO ORDERED. (Signed by Judge Katherine B. Forrest on 3/19/14)(jw)
          19 Filed & Entered:                                         03/28/2014 Motion to Dismiss
             Terminated:                                              07/09/2014
              Docket Text: FIRST MOTION to Dismiss Challenging the Face of the Indictment. Document filed by Ross William Ulbricht. (Dratel, Joshua)
          20 Filed & Entered:                                         03/28/2014 Declaration in Support of Motion
              Docket Text: DECLARATION of Joshua L. Dratel, Esq. in Support as to Ross William Ulbricht re: [19] FIRST MOTION to Dismiss Challenging the Face of the Indictment.. (Attachments: #
              (1) Exhibit Exhibit 1, # (2) Exhibit Exhibit 2)(Dratel, Joshua)
          21 Filed & Entered:                                         03/29/2014 Memorandum in Support of Motion
              Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [19] FIRST MOTION to Dismiss Challenging the Face of the Indictment.. (Dratel, Joshua)
          22 Filed & Entered:                                         03/31/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 3/28/14 re: The Government therefore respectfully requests
              that the Court extend the time for the Government to file any superseding indictment by 60 days, i.e., until May 30, 2014..ENDORSEMENT: Application granted (Signed by Judge Katherine
              B. Forrest on 3/31/14)(jw)
          23 Filed & Entered:                                         04/10/2014 Transcript
              Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on 2/7/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Eve Giniger, (212)
              805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
              may be obtained through PACER. Redaction Request due 5/5/2014. Redacted Transcript Deadline set for 5/15/2014. Release of Transcript Restriction set for 7/14/2014. (Rodriguez, Somari)
          24 Filed & Entered:                                         04/10/2014 Notice of Filing Transcript




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              Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Conference proceeding held on 2/7/14 has
              been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
              transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (Rodriguez, Somari)
          25 Filed & Entered:                                         04/16/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 4/16/14 re: The Government requests that the briefing
              schedule for the motion to dismiss be extended.ENDORSEMENT: Application granted. (I did not use the Govt's proposed order because it has the Court's signature line of a page by itself --
              causing certain concerns) (Defendant Replies due by 5/5/2014., Government Responses due by 4/28/2014) (Signed by Judge Katherine B. Forrest on 4/16/14)(jw)
          26 Filed & Entered:                                         04/28/2014 Memorandum in Opposition to Motion
              Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [19] FIRST MOTION to Dismiss Challenging the Face of the Indictment.. (Attachments: # (1) Exhibit A,
              # (2) Exhibit B, # (3) Exhibit C)(Turner, Serrin)
          27 Filed & Entered:                                         04/29/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 4/25/2014 re: For the reasons stated in this letter, defense
              counsel writes to request an adjournment of the pretrial conference scheduled for February 19, 2014. ENDORSEMENT: Adjourned to 6/2/2014 at 2:00 p.m. (Signed by Judge Katherine B.
              Forrest on 4/28/2014)(dnd) .
          28 Filed:                                                   05/09/2014 Endorsed Letter
             Entered:                                                 05/12/2014
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Attorney Joshua L. Dratel dated May 9, 2014 re: submitted to request an
              extension until May 23, 2014, for the filing of Mr. Ulbricht's Reply to the Government's Response to the Defendant's Pre-Trial Motions challenging the face of the Indictment. This adjustment
              in the briefingschedule will not impact the next pre-trial conference in this case, which is currently scheduled for June 2, 2014, at 2 p.m., and at which time the motions will be fully briefed.
              ENDORSEMENT: Application granted. (Signed by Judge Katherine B. Forrest on 5/9/2014)(bw)
          29 Filed & Entered:                                         05/22/2014 Letter
              Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 22, 2014 re: Extension of Time for File of Reply (Dratel,
              Joshua)
          30 Filed & Entered:                                         05/22/2014 Notice of Attorney Appearance - USA
              Docket Text: NOTICE OF ATTORNEY APPEARANCE Timothy Turner Howard appearing for USA. (Howard, Timothy)
              Filed & Entered:                                        05/23/2014 Set/Reset Deadlines/Hearings
              Docket Text: Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Replies due by 5/27/2014. (ft)
          31 Filed & Entered:                                         05/23/2014 Memo Endorsement
              Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [29] Letter filed by Ross William Ulbricht. ENDORSEMENT: ORDERED: Application Granted. (Signed by Judge
              Katherine B. Forrest on 5/23/2014)(ft)
          32 Filed & Entered:                                         05/27/2014 Reply Memorandum of Law in Support of Motion
              Docket Text: REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: [19] FIRST MOTION to Dismiss Challenging the Face of the Indictment. . (Dratel, Joshua)
              Filed & Entered:                                        06/02/2014 Status Conference
              Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Status Conference as to Ross William Ulbricht held on 6/2/2014. Defendant present with attorneys Joshua
              Dratel and Lindsay Lewis. AUSAs Serrin Turner and Tim Howard present. Conference held. Order to follow. Detention continued. (jp)
          33 Filed & Entered:                                         06/02/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 5/30/14 re: The Government is continuing to investigate
              other charges against the defendant and requires additional time to pursue its investigation before determining whether to seek a superseding indictment. The Government therefore respectfully
              requests that the Court extend the time for the Government to file any superseding indictment by 30 additional days, i.e., until June 30, 2014. The Government does not anticipate that any
              further extension will be needed after June 30, 2014. The Government submits that this schedule will still afford the defense ample time to review any additional discovery and prepare for trial,
              which is set to begin on November 4, 2014.ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on 6/2/14)(jw)
          34 Filed & Entered:                                         06/03/2014 Order



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              Docket Text: ORDER as to Ross William Ulbricht ( Motions due by 7/15/2014., Replies due by 8/27/2014., Responses due by 8/15/2014, Status Conference set for 9/5/2014 at 12:00 PM
              before Judge Katherine B. Forrest.) The Court hereby ORDERS the parties to comply with the following schedule for the remainder of this litigation: Dispositive motions shall be filed by July
              15, 2014; oppositions are due August 15, 2014, and replies, if any, shall be filed by August 27, 2014; The parties shall together determine the date by which trial exhibits are to be exchanged to
              allow adequate time for objections to be interposed (if a date cannot be agreed upon, the Court will set one at the next status conference); The parties shall confer as to whether they believe
              juror questionnaires would be helpful in this case. They shall submit a joint letter setting forth their views on this topic by August 1, 2014 (if they believe questionnaires would be helpful, the
              August 1 letter should contain a proposed date for submission of a draft to the Court); A status conference shall occur on September 5, 2014 at 12:00 p.m. Rule 404(b) motions shall be
              submitted by October 3, 2014; Motions in Limine shall be submitted by October 17, 2014; oppositions are due October 24, 2014. 3500 material shall be submitted not later than October 31,
              2014; and A final pretrial conference shall occur on October 29, 2014 at 2:00 p.m. (the Court has reserved three hours). (Signed by Judge Katherine B. Forrest on 6/3/14)(jw)
          35 Filed & Entered:                                          06/26/2014 Motion for Miscellaneous Relief
             Terminated:                                               06/27/2014
              Docket Text: MOTION To Intervene Solely For The Purpose right To Access Judicial Proceeding Records. Document filed by Intervenors. (dnd)
              Filed & Entered:                                         06/27/2014 Status Conference
              Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest: Conference as to Ross William Ulbricht held on 6/27/2014. Defendant waives his appearance. Counsel for
              defendant, Joshua Dratel and Lindsay Lewis present. AUSAs Serrin Turner and Tim Howard present. Court Reporter present. Conference held. (jp)
          36 Filed & Entered:                                          06/27/2014 Remark
              Docket Text: Waiver of Appearance as to Ross William Ulbricht. I have spoken with my attorney, Joshua L. Dratel, Esq., and he has advised me of thenature of the June 27, 2014, Court
              conference scheduled in the above-captioned matter. I hereby knowingly waive my right to appear in person June 27, 2014, at 2:30 p.m., before the Honorable Katherine B. Forrest, United
              States District Judge for the Southern District of New York, at the United States Courthouse located at 500 Pearl Street, New York, in the above-captioned matter. I authorize my attorneys
              Joshua L. Dratel, Esq., and Lindsay A. Lewis, Esq., to appear on my behalf at that conference. (jw)
          37 Filed:                                                    06/27/2014 Order
             Entered:                                                  06/30/2014
              Docket Text: ORDER as to Ross William Ulbricht. On June 27, 2014, a status conference was held in the above-referenced matter. (Mr. Ulbricht was not in attendance; he waived his right to
              appear in person. That waiver has been filed electronically.) As was discussed, the Court hereby ORDERS the following: -The parties shall submit a letter (jointly, if possible) that sets forth the
              status of Mr. Ulbricht' s access to discovery by the close of business on July 7, 2014. In particular, the letter shall set forth the number of hours Mr. Ulbricht requested to view the electronic
              discovery and the number of hours he actually had such access from June 28, 2014 through July 6, 2014. -Defendant's counsel shall notify the Court no later than the close of business on July
              2, 2014 if Mr. Ulbricht has not yet received access to the hard drives. -The schedule has been adjusted as follows: defendant shall file any dispositive motion by July 29, 2014; the
              Government's response is due by August 26, 2014; and the reply, if any, shall be filed by September 12, 2014. Separately, the Court notes that on June 26, 2014, it received a letter motion from
              four incarcerated individuals seeking permission to intervene in this action (the letter is included herein). Because there is no provision that allows for such intervention in criminal actions, the
              Court DENIES the request.(See Footnote 1). SO ORDERED. (Signed by Judge Katherine B. Forrest on 6/27/2014) [*** FOOTNOTE 1: The Court notes that as a matter of policy and practice,
              the proceedings that occur and the submissions that are made in this matter are, generally speaking, publicly available - it is an open courtroom and a public docket. ***] (bw)
          38 Filed & Entered:                                          07/02/2014 Transcript
              Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on 6/2/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: William Richards, (212)
              805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
              may be obtained through PACER. Redaction Request due 7/28/2014. Redacted Transcript Deadline set for 8/7/2014. Release of Transcript Restriction set for 10/3/2014. (Rodriguez, Somari)
          39 Filed & Entered:                                          07/02/2014 Notice of Filing Transcript
              Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Conference proceeding held on 6/2/14 has
              been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
              transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (Rodriguez, Somari)
          40 Filed & Entered:                                          07/07/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht. On July 3, 2014, the Court sent the attached letter via email to Nicole McFarland, Senior Staff Attorney at the Metropolitan Detention
              Center. (Signed by Judge Katherine B. Forrest on 7/7/14)(jw)
          41 Filed & Entered:                                          07/08/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Timothy T. Howard dated 7/7/2014 re: Status Update. ENDORSEMENT:
              Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 7/8/2014)(ft)




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          42 Filed & Entered:                                        07/09/2014 Memorandum & Opinion
              Docket Text: OPINION AND ORDER #104494: as to Ross William Ulbricht re: [19] FIRST MOTION to Dismiss Challenging the Face of the Indictment. filed by Ross William Ulbricht. For
              the reasons set forth on this Opinion and Order, the defendant's motion to dismiss is DENIED in its entirety. The clerk of the Court is directed to terminate the motion at ECFNo. 19. (Signed by
              Judge Katherine B. Forrest on 7/9/2014)(jp) Modified on 7/11/2014 (ca).
          43 Filed & Entered:                                        07/15/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 7/14/2014 re: Status Update. ENDORSEMENT: Ordered:
              Post to docket. (Signed by Judge Katherine B. Forrest on 7/14/2014)(ft)
          44 Filed & Entered:                                        07/25/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER: As to Ross William Ulbricht addressed to Magistrate Judge Kevin Nathaniel Fox from Joshua L. Dratel dated 7/24/2014 re: Defense counsel writes to
              request a two day extension until July 31, 2014 to file the defendant's motions. ENDORSEMENT: Application Granted. SO ORDERED. (Signed by Magistrate Judge Kevin Nathaniel Fox on
              7/25/2014)(dnd)
          45 Filed & Entered:                                        07/31/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 7/30/2014 re: Extension of Time to File Motion.
              ENDORSEMENT: Ordered: Application granted. (Motions due by 8/1/2014.) (Signed by Judge Katherine B. Forrest on 7/31/2014)(ft)
          46 Filed & Entered:                                        08/01/2014 Motion to Suppress
             Terminated:                                             10/10/2014
              Docket Text: MOTION to Suppress Certain Evidence., MOTION for Discovery ., MOTION for Bill of Particulars . Document filed by Ross William Ulbricht. (Dratel, Joshua)
          47 Filed & Entered:                                        08/01/2014 Declaration in Support of Motion
              Docket Text: DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of
              Particulars .. (Dratel, Joshua)
          48 Filed & Entered:                                        08/01/2014 Memorandum in Support of Motion
              Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars .. (Dratel,
              Joshua)
          49 Filed & Entered:                                        08/04/2014 Letter
              Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated August 4, 2014 re: Juror Questionnaire (Dratel, Joshua)
          50 Filed & Entered:                                        08/05/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht. The Court has received defendant's application for an extension of time to subject a proposed juror questionnaire and accompanying letter
              motion. Without taking a position on the ultimately utility, if any, of a juror questionnaire in this action, the Court hereby GRANTS defendant's request. The Government is ORDERED to
              respond to any submission by defendant not later than September 5, 2014 at 8:30 a.m. SO ORDERED. (Signed by Judge Katherine B. Forrest on 8/5/2014)(bw)
          51 Filed & Entered:                                        08/08/2014 Notice of Attorney Appearance - Defendant
              Docket Text: NOTICE OF ATTORNEY APPEARANCE: Lindsay Anne Lewis appearing for Ross William Ulbricht. Appearance Type: Retained. (Lewis, Lindsay)
          52 Filed & Entered:                                        08/21/2014 Indictment
              Docket Text: (S1) SUPERSEDING INDICTMENT FILED as to Ross William Ulbricht (1) count(s) 1s, 2s, 3s, 4s, 5s, 6s, 7s. (jbo)
          53 Filed & Entered:                                        08/22/2014 Letter Motion
             Terminated:                                             09/15/2014
              Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated August 22, 2014 re: Respectfully Requesting that the Court Order the Use of a
              Juror Questionnaire . Document filed by Ross William Ulbricht. (Attachments: # (1) Exhibit Defendant's Proposed Questionnaire)(Dratel, Joshua)
          54 Filed & Entered:                                        08/29/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 8/29/2014 re: On August 1, 2014, the defendant filed a 90-
              page suppression motion. The Governments opposition is presently due today, August 29, 2014... the Government respectfully requests that the briefing schedule for the motion to dismiss be
              extended by one week, as follows: Governments opposition due: September 5, 2014. Defendants reply due: September 23, 2014. ENDORSEMENT: Application Granted. SO ORDERED.



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SDNY CM/ECF NextGen Version 1.2-History/Documents Query                                                                           https://ecf.nysd.uscourts.gov/cgi-bin/HistDocQry.pl?122210934655104-L_1_0-1
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              (Signed by Judge Katherine B. Forrest on 8/29/2014)(dnd)
          55 Filed & Entered:                                          09/03/2014 Letter
              Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated September 3, 2014 re: Update To the Court on the Discovery
              Review Process (Dratel, Joshua)
              Filed & Entered:                                         09/05/2014 Arraignment
              Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Arraignment as to Ross William Ulbricht (1) Count 1s,2s,3s,4s,5s,6s,7sRoss William Ulbricht (1) Count
              1s,2s,3s,4s,5s,6s,7s held on 9/5/2014., Plea entered by Ross William Ulbricht (1) Count 1s,2s,3s,4s,5s,6s,7sRoss William Ulbricht (1) Count 1s,2s,3s,4s,5s,6s,7s Not Guilty. Defendant present
              with attorneys Joshua Dratel, Lindsay Lewis, and Joshua Horowitz. AUSA Serrin Turner present. Court Reporter present. Defendant arraigned on the Superseding Indictment and enters a plea
              of not guilty to all counts. Order to follow. Pretrial detention continued. (jp).
          56 Filed & Entered:                                          09/05/2014 Memorandum in Opposition to Motion
              Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars
              .. (Turner, Serrin)
          57 Filed & Entered:                                          09/05/2014 Declaration in Opposition to Motion
              Docket Text: DECLARATION of Christopher Tarbell in Opposition by USA as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION
              for Bill of Particulars .. (Turner, Serrin)
          58 Filed & Entered:                                          09/08/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht ( Motions due by 9/26/2014., Replies due by 9/23/2014., Responses due by 9/9/2014, Status Conference set for 10/17/2014 at 11:00 AM
              before Judge Katherine B. Forrest.) The Government shall submit a response to defendant's submission regarding a proposed juror questionnaire not later than Tuesday, September 9, 2014.
              Any motion by defendant regarding additional counts in the Superseding Indictment shall be made by letter not later than Friday, September 26, 2014. The Government shall respond as soon as
              practicable, but not later than Tuesday, September 30, 2014. The government shall provide a proposed exhibit list to defendant not later than Tuesday, October 21, 2014. Defendant shall
              provide a proposed exhibit list to the Government not later than Friday, October 24, 2014, indicating any objections to the Government's exhibits. Parties shall submit final pretrial materials by
              Friday, October 31, 2014. Those materials include (a) trial witness lists; (b) joint proposed voir dire; (c) joint proposed requests to charge, and verdict form; (d) exhibit lists; (e) objections to
              proposed exhibits; and (f) a list of stipulations. The final pretrial conference is now scheduled to occur on Wednesday November 5, 2014 at 2:00pm. The parties shall set aside three hours. The
              trial is now scheduled to commence Monday, November 10, 2014. (Signed by Judge Katherine B. Forrest on 9/8/14)(jw)
          59 Filed & Entered:                                          09/08/2014 Notice of Attorney Appearance - Defendant
              Docket Text: NOTICE OF ATTORNEY APPEARANCE: Joshua Jacob Horowitz appearing for Ross William Ulbricht. Appearance Type: Retained. (Horowitz, Joshua)
          60 Filed & Entered:                                          09/09/2014 Response in Opposition to Motion
              Docket Text: LETTER RESPONSE in Opposition by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Serrin Turner dated 09/09/2014 re: [53] LETTER
              MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated August 22, 2014 re: Respectfully Requesting that the Court Order the Use of a Juror Questionnaire ..
              (Turner, Serrin)
          61 Filed & Entered:                                          09/15/2014 Order on Letter Motion
              Docket Text: MEMO ENDORSEMENT granting [53] LETTER MOTION Respectfully Requesting that the Court Order the Use of a Juror Questionnaire as to Ross William Ulbricht (1).
              ENDORSEMENT: Ordered: Defendant's application for a questionnaire is granted. However, the Court does not all of defendant's questions and will put out a revised questionnaire and
              schedule for use of such shortly. (Signed by Judge Katherine B. Forrest on 9/15/2014) (ft)
          62 Filed & Entered:                                          09/16/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht. In accordance with the Court's Order on September 15, 2014 granting the use of a juror questionnaire (ECF No. 61), defendant shall provide
              by Friday, September 19, 2014 one Excel spreadsheet (using a template similar to that employed in United States v. Mostafa) with columns corresponding to those questions the Court has
              indicated it is considering including. The Court plans to finalize the juror questionnaire by Friday, September 26, 2014. The process shall be as follows: Potential jurors will be given the
              questionnaire on Wednesday, November 5, 2014. 2. It is anticipated that the parties will have access to the questionnaires by 1:00 p.m. on that day. 3. The parties shall agree as between
              themselves which side shall take the laboring oar of filling in the spreadsheet based on juror responses. Both sides must agree that the Excel spreadsheet properly reflects the questionnaire
              responses. The parties shall then confer and present the Court with a list of jointly agreed strikes as well as a list of non-agreed requested strikes not later thanThursday, November 6, 2014 at
              7:00p.m. (The Court must call prospective jurors who do not need to appear.). The Court shall review all agreed cause-strikes and those proposed by one side but not agreed by the other. The
              Court may determine that it is appropriate to strike one or more of these (or other) potential jurors. The Court will then separate the remaining jurors into two waves: the first wave will be those
              jurors who do not have potential or likely cause issues, and the second wave will be all others. The Court intends to proceed with voir dire initially using the first wave of potential jurors. The



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              second wave ofpotential jurors shall only be called to the courtroom if necessary. (Signed by Judge Katherine B. Forrest on 9/16/14)(jw)
          63 Filed & Entered:                                         09/16/2014 Memorandum in Opposition to Motion
              Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars
              .. (Supplemental Memorandum) (Turner, Serrin)
          64 Filed:                                                   09/19/2014 Order
             Entered:                                                 09/22/2014
              Docket Text: ORDER as to Ross William Ulbricht. The Court has attached Version 1 of the juror questionnaire spreadsheet. The parties shall submit additional questions (not already proposed)
              and changes by Wednesday September 24, 2014. The Government shall provide its summary of the case by Wednesday, October 8, 2014. SO ORDERED. (Signed by Judge Katherine B.
              Forrest on 9/19/2014)(bw)
          65 Filed & Entered:                                         09/22/2014 Sealed Document
              Docket Text: SEALED DOCUMENT placed in vault. (mps)
          66 Filed & Entered:                                         09/22/2014 Sealed Document
              Docket Text: SEALED DOCUMENT placed in vault. (mps)
          67 Filed & Entered:                                         09/23/2014 Letter
              Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated September 23, 2014 re: Request for an Extension of Time for Filing
              Mr. Ulbrict's Reply motion (Dratel, Joshua)
          68 Filed & Entered:                                         09/24/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 9/23/2014 re: This letter is in regard to the Reply papers
              on behalf of defendant Ross Ulbricht, whom I represent, and that are due today, September 23, 2014. For the reasons set forth below, it is respectfully requested that the due date be adjourned
              until September 30, 2014. It is also respectfully requested that the due date for the motions challenging the Superseding Indictment be extended from this Friday, September 26, 2014, until next
              Thursday, October 2, 2014. ENDORSEMENT: Application Granted. SO ORDERED. (Signed by Judge Katherine B. Forrest on 9/24/2014)(dnd)
          69 Filed & Entered:                                         10/01/2014 Reply Memorandum of Law in Support of Motion
              Docket Text: REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of
              Particulars . . (Dratel, Joshua)
          70 Filed & Entered:                                         10/01/2014 Declaration in Support of Motion
              Docket Text: DECLARATION of Joshua J. Horowitz, Esq. in Support as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for
              Bill of Particulars .. (Attachments: # (1) Exhibit Government's March 21, 2014, Discovery Production Letter, # (2) Exhibit Mtime and Sites-Enabled Directory For Item 1 of March 21, 2014,
              Discovery Production, # (3) Exhibit Defense Counsel's September 17, 2014, Letter Demand for Discovery, # (4) Exhibit Government's September 23, 2014 Reponse to Defense Counsel's
              September 17, 2014, Letter, # (5) Exhibit Nginx Logs, Attachment 1 to the Government's September 23, 2014, Letter, # (6) Exhibit Full Text of live-ssl Configuration File, # (7) Exhibit Full
              Text of phpmyadmin Configuration File, # (8) Exhibit phpmyadmin Login Page, # (9) Exhibit Silk Road Login Page, # (10) Exhibit Example of Wireshark Packet Capture, # (11) Exhibit
              Screenshot of Wireshark Exit Prompt)(Dratel, Joshua)
          71 Filed & Entered:                                         10/02/2014 Motion to Dismiss
             Terminated:                                              10/24/2014
              Docket Text: MOTION to Dismiss Counts One through Four of hte Superseding Indictment., SUPPLEMENTAL MOTION for Bill of Particulars as to the New Charges and Allegations
              Contained in the Superseding Indictment. Document filed by Ross William Ulbricht. (Lewis, Lindsay)
          72 Filed & Entered:                                         10/02/2014 Memorandum in Support of Motion
              Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [71] MOTION to Dismiss Counts One through Four of hte Superseding Indictment.SUPPLEMENTAL MOTION for
              Bill of Particulars as to the New Charges and Allegations Contained in the Superseding Indictment.. (Lewis, Lindsay)
          73 Filed & Entered:                                         10/03/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht. Defendant has submitted a declaration from Joshua Horowitz in support of his motion and request for an evidentiary hearing.If the
              Government has any response to the factual statements (and/or relevance of the factual statements) asserted therein, it should file such response by C.O.B., October 6, 2014 (if possible).
              (Signed by Judge Katherine B. Forrest on 10/3/14)(jw)



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          74 Filed & Entered:                                          10/03/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht. Defendant has submitted a motion dismissing Counts One through Four of the Superseding Indictment and a motion directing the
              Government to produce the requested Bill of Particulars. The Government shall respond to these motions not later than Tuesday, October 7, 2014. SO ORDERED. (Signed by Judge Katherine
              B. Forrest on 10/3/2014)(bw)
          75 Filed & Entered:                                          10/06/2014 Response in Opposition to Motion
              Docket Text: RESPONSE in Opposition by USA as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars ..
              (Response to Declaration of Joshua Horowitz) (Turner, Serrin)
          76 Filed & Entered:                                          10/07/2014 Order
              Docket Text: ORDER as to Ross William Ulbricht: The Court has not received a declaration or affidavit from defendant Ross Ulbricht, demonstrating that he had a subjective expectation of
              privacy in any of the items seized and as to which his suppression motion relates. The Court has read his counsel's argument as to the order in which they assert that decisions should be made.
              The potential rationale for not submitting a declaration or affidavit may, however, be different for the servers located in premises operated by third parties, versus the wireless router located on
              Montgomery Street, the laptop, the Gmail and Facebook accounts. The Court will give Mr. Ulbricht one final opportunity to submit a declaration or affidavit in support of his motion (which
              would of course need to have sufficient specificity to establish a subjective expectation of privacy in items to which it relates). However, given that the defendant has had quite a long time
              already to make such a submission, if he now decides to submit one, the Court must be so notified by 5pm today (October 7) that one shall be forthcoming by tomorrow, and to specify the
              particular items it will cover. (Signed by Judge Katherine B. Forrest on 10/7/2014)(jp)
          77 Filed & Entered:                                          10/07/2014 Order
              Docket Text: ORDER: As to Ross William Ulbricht. The Court has not received a declaration or affidavit from defendant Ross Ulbricht, demonstrating that he had a subjective expectation of
              privacy in any of the items seized and as to which his suppression motion relates. The Court has read his counsel's argument as to the order in which they assert that decisions should be made.
              The potential rationale for not submitting a declaration or affidavit may, however, be different for the servers located in premises operated by third parties, versus the wireless router located on
              Montgomery Street, the laptop, the Gmail and Facebook accounts. The Court will give Mr. Ulbricht one final opportunity to submit a declaration or affidavit in support of his motion (which
              would of course need to have sufficient specificity to establish a subjective expectation of privacy in items to which it relates). However, given that the defendant has had quite a long time
              already to make such a submission, if he now decides to submit one, the Court must be so notified by 5pm today (October 7) that one shall be forthcoming by tomorrow, and to specify the
              particular items it will cover. SO ORDERED. (Signed by Judge Katherine B. Forrest on 10/7/2014)(dnd)
          78 Filed & Entered:                                          10/07/2014 Transcript
              Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on 9/5/2014 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Kristen Carannante,
              (212) 805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
              date it may be obtained through PACER. Redaction Request due 10/31/2014. Redacted Transcript Deadline set for 11/10/2014. Release of Transcript Restriction set for 1/8/2015. (McGuirk,
              Kelly)
          79 Filed & Entered:                                          10/07/2014 Notice of Filing Transcript
              Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Conference proceeding held on 9/5/2014
              has been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
              transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
          80 Filed & Entered:                                          10/07/2014 Letter
              Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated October 7, 2014 re: the Court's October 7, 2014, Order (Lewis,
              Lindsay)
          81 Filed & Entered:                                          10/07/2014 Endorsed Letter
              Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis dated 10/7/2014 re: Accordingly, it is respectfully requested
              that defense counsel be pem1itted to respond to the Court's Order after Mr. Dratel's trial is concluded.ENDORSEMENT: The Court intends to rule on the suppression motion before Thurs. --
              since you represent Mr. Ulbricht, perhaps you should meet with him. Ultimately, I assume you folks have considered the various issues relating to the declaration as an accommodation, the
              Court is providing you a last clear chance. (Signed by Judge Katherine B. Forrest on 10/7/14)(jw)
          82 Filed & Entered:                                          10/07/2014 Memorandum in Opposition to Motion
              Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [71] MOTION to Dismiss Counts One through Four of hte Superseding Indictment.SUPPLEMENTAL
              MOTION for Bill of Particulars as to the New Charges and Allegations Contained in the Superseding Indictment.. (Turner, Serrin)
          83 Filed & Entered:                                          10/07/2014 Letter



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               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated October 7, 2014 re: the government's October 6, 2014, filing and
               the Court's October 7, 2014, Order (Lewis, Lindsay)
           84 Filed & Entered:                                          10/08/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 10/7/14 re: This letter is submitted on behalf of defendant
               Ross Ulbricht, in response to the government's October 6, 2014, filing pursuant to the Court's October 3, 2014, Order inviting the government to respond to the factual statements contained in
               the Declaration of Joshua J. Horowitz, Esq..ENDORSEMENT: Does the Government agree that no declaration is required is this case with regard to establishing Ulbricht's privacy interest in
               his Facebook, GMAIL accounts, and laptop? (Could you let me know today " yes" or "no" will do.) (Signed by Judge Katherine B. Forrest on 10/8/14)(jw)
           85 Filed & Entered:                                          10/08/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Serrin Turner dated 10/08/2014 re: Defendant's Motion to Suppress Document
               filed by USA. (Turner, Serrin)
           86 Filed & Entered:                                          10/08/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. Understanding that Mr. Dratel is currently on trial, the Court would like the parties to meet and confer, and inform the Court as soon as
               practicable, but in any event, not later than C.O.B., October 13, 2014 on the following: 1. What is the best estimate of the total trial duration -- real estimate -- including both direct and cross of
               witnesses. 2. Will the trial likely run into the Christmas holidays? 3. If it does seem that we will run into the holidays, without in any way suggesting the trial will be delayed, what is the
               soonest after January 1, 2015, the parties would be able to try the case? SO ORDERED. (Signed by Judge Katherine B. Forrest on 10/8/2014)(bw)
           87 Filed & Entered:                                          10/08/2014 Proposed Voir Dire Questions
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - Proposed Voir Dire Questions by USA as to Ross William Ulbricht. (Attachments: # (1) proposed
               case summary)(Turner, Serrin) Modified on 10/9/2014 (ka).
               Filed & Entered:                                         10/09/2014 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to RE-FILE
               Document [87] Proposed Voir Dire Questions. Use the document type Letter found under the document list Other Documents. (ka)
           88 Filed & Entered:                                          10/09/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Serrin Turner dated 10/08/2014 re: Proposed Case Summary for Voir Dire
               Document filed by USA. (Attachments: # (1) Proposed Case Summary)(Turner, Serrin)
           89 Filed & Entered:                                          10/10/2014 Memorandum & Opinion
               Docket Text: OPINION AND ORDER #104893 as to Ross William Ulbricht re: [46] MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars . filed
               by Ross William Ulbricht: For the reasons set forth above, defendant's motion to suppress, for a bill of particulars and to strike surplusage is DENIED. The Clerk of Court is directed to close
               the motion at ECF No. 46. (Signed by Judge Katherine B. Forrest on 10/10/2014)(jp) Modified on 10/16/2014 (ca).
           90 Filed & Entered:                                          10/15/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L.. Dratel dated October 13, 2014 re: This letter is submitted on behalf of
               defendant Ross Ulbricht in conjunction with a corresponding letter submitted today by the government in response to the questions posed in the Court's October 8, 2014, Order. This letter is
               being transmitted via electronic mail to the Court, but can filed via ECF if the Court wishes.ENDORSEMENT: Trial adjourned to January 5, 2015. We will discuss other dates and logistics of
               jury selection at the conference on Friday (10/17/14) (Signed by Judge Katherine B. Forrest on 10/15/14)(jw)
           91 Filed & Entered:                                          10/15/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (rz)
           92 Filed & Entered:                                          10/16/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner and Timothy Howard dated 10/8/2014 re: Please find attached a
               proposed summary of the case to be used in connection with voir dire at trial..ENDORSEMENT: Defendant shall provide any proposed modifications to the summary attached no later than
               10/23/14. (Signed by Judge Katherine B. Forrest on 10/16/14)(jw)
               Filed:                                                   10/17/2014 Status Conference
               Entered:                                                 10/20/2014




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               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Status Conference as to Ross William Ulbricht held on 10/17/2014. Defendant present with attys Joshua
               Dratel, Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and Tim Howard present. Court Reporter present. Conference held. Order to follow. Remand continued. (jp)
           93 Filed:                                                  10/17/2014 Order
              Entered:                                                10/20/2014
               Docket Text: ORDER as to Ross William Ulbricht ( Motions due by 12/3/2014., Responses due by 12/10/2014, Pretrial Conference set for 12/17/2014 at 02:00 PM before Judge Katherine B.
               Forrest.) The Government shall provide a proposed exhibit list to defendant not later than Monday, December 1, 2014 at 4:00 p.m. Defendant shall provide a proposed exhibit list to the
               Government not later than Friday, December 5, 2014 at 4:00 p.m., indicating any objections to the Government's exhibits and setting forth any known exhibits defendant intends to offer.
               Parties shall file any motions in limine by Wednesday, December 3, 2014; opposition briefs are due by Wednesday, December 10, 2014; no replies. Parties shall submit final pretrial materials
               by Wednesday, December 10, 2014. Those materials include (a) trial witness lists, in approximate order, with names and expected duration of direct examination; (b) joint proposed voir dire
               (taking into account the juror questionnaire); (c) joint proposed requests to charge; (d) joint proposed verdict form; (e) exhibit lists; (f) objections to proposed exhibits; and (g) a list of
               stipulations. The final pretrial conference is now scheduled to occur on Wednesday December 17, 2014 at 2:00 p.m. The parties shall set aside three hours. The juror questionnaire shall be
               filled out by the potential jurors the weeks of December 22 and 29, 2014. 3500 materials for non-cooperating witnesses shall be submitted by Monday, December 29, 2014. 3500 materials for
               all other witnesses shall be submitted by Friday, January 2, 2015. Upon receipt from the Jury Department, the Government shall work with defense counsel to copy/scan the questionnaires, fill
               out the juror questionnaire summary spreadsheet, and confer on joint strikes. Not later than Friday, January 2, 2015 at 10:00 a.m., the parties shall file the spreadsheet in both hard copy and
               electronic format (Excel) and a letter containing (1) jointly agreed-upon strikes; (2) proposed but not agreed-upon strikes. The trial shall commence on Monday, January 5, 2015. (Signed by
               Judge Katherine B. Forrest on 10/17/14)(jw)
           94 Filed & Entered:                                        10/24/2014 Memorandum & Opinion
               Docket Text: OPINION & ORDER #104931: as to (14-Cr-68-01) Ross William Ulbricht. On February 4, 2014, a federal grand jury returned Indictment 14 Cr. 68 (the "Original Indictment"),
               charging Ross Ulbricht ("defendant" or "Ulbricht") on four counts---all stemming from the creation, administration, and operations of an online marketplace known as "Silk Road." (ECF No.
               12 ("Orig. Ind.").) On March 28, 2014, Ulbricht moved to dismiss the Original Indictment in its entirety. (ECF No. 19.) That motion became fully briefed on May 27, 2014 (ECF No. 32), and
               on July 9, 2014, the Court denied the motion (ECF No. 42). On August 21, 2014, the Government filed Superseding Indictment S1 14 Cr. 68 (KBF) (the "Superseding Indictment") containing
               three additional charges. (ECF No. 52 ("Sup. Ind.").) Ulbricht's trial is scheduled to begin on January 5, 2015. Pending before the Court is defendant's motion to dismiss Counts One through
               Four of the Superseding Indictment, for a bill of particulars, and "for any such other and further relief... which to the Court seems just and proper." (ECF No. 71.) For the reasons set forth
               below, the motion is DENIED....[See this Opinion And Order]... IV. CONCLUSION: For the reasons set forth above, defendant's motion is DENIED. The Clerk of the Court is directed to
               terminate the motion at ECF No. 71. SO ORDERED. (Signed by Judge Katherine B. Forrest on 10/24/2014)(bw) Modified on 11/4/2014 (ca).
           95 Filed & Entered:                                        11/04/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           96 Filed & Entered:                                        11/18/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Serrin Turner dated November 17, 2014 re: The Government respectfully
               requests that the deadline for the Government's disclosure of trial exhibits be extended by two days to December 3, 2014, and that the deadline for defense exhibits be correspondingly extended
               by two days to December 9, 2014. ENDORSEMENT: Application granted. (Signed by Judge Katherine B. Forrest on 11/18/2014)(bw)
           97 Filed & Entered:                                        11/25/2014 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on 10/17/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sonya Ketter Huggins,
               (212) 805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
               date it may be obtained through PACER. Redaction Request due 12/19/2014. Redacted Transcript Deadline set for 12/29/2014. Release of Transcript Restriction set for 2/26/2015. (Rodriguez,
               Somari)
           98 Filed & Entered:                                        11/25/2014 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Conference proceeding held on 10/17/14
               has been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (Rodriguez, Somari)
           99 Filed & Entered:                                        12/01/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           100 Filed & Entered:                                       12/01/2014 Order




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               Docket Text: ORDER as to Ross William Ulbricht. The Court has conferred with the Jury Department to implement a process for calling potential jurors to be given the juror questionnaire. The
               process shall be as follows: Potential jurors will be given the questionnaire on Monday, December 29, 2014. It is anticipated that the parties will have access to the questionnaires by 1:00 p.m.
               on that day. The parties shall agree as between themselves which side shall take the laboring oar of filling in the spreadsheet based on juror responses. Both sides must agree that the Excel
               spreadsheet properly reflects the questionnaire responses. The parties shall then confer and present the Court with a list of jointly agreed strikes as well as a list of non-agreed requested strikes
               not later than Thursday, January 1, 2015 at 5:00p.m. (The Court must call prospective jurors who do not need to appear.) The Court shall review all agreed cause- strikes and those proposed by
               one side but not agreed by the other. The Court may determine that it is appropriate to strike one or more of these (or other) potential jurors. The Court will then separate the remaining jurors
               into two waves: the first wave will be those jurors who do not have potential or likely cause issues, and the second wave will be all others. The Court intends to proceed with voir dire initially
               using the first wave of potential jurors. The second wave of potential jurors shall only be called to the courtroom if necessary. (Signed by Judge Katherine B. Forrest on 12/1/2014)(jw)
           101 Filed & Entered:                                         12/01/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court hereby notifies the parties that it intends to provide the enclosed Juror Questionnaire to the Clerk's Office on December 4, 2014. If
               either party has concerns, it should let the Court know not later than December 3, 2014. (Signed by Judge Katherine B. Forrest on 12/1/2014)(jw)
           102 Filed & Entered:                                         12/03/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 12/3/2014 re: Court's proposed jury questionnaire
               Document filed by USA. (Howard, Timothy)
           103 Filed & Entered:                                         12/03/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 12/3/2014 re: This letter is submitted on behalf of
               defendant Ross Ulbricht in response to the Court's December 1, 2014, Order requesting that the parties convey any concerns with the existing questionnaire to the Court by today, December 3,
               2014. This letter is being transmitted via electronic mail to the Court, but can filed via ECF if the Court wishes. ENDORSEMENT: Does the Government object to the changes noted in PP 1-5
               above? Please inform the court by 5:00 p.m. 12/4/2014. SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/3/2014)(dnd)
           104 Filed & Entered:                                         12/04/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           105 Filed & Entered:                                         12/05/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. Attached as Exhibit A is the juror questionnaire, as provided to the Jury Department. SO ORDERED (Signed by Judge Katherine B. Forrest
               on 12/5/14)(jw)
           106 Filed:                                                   12/05/2014 Endorsed Letter
               Entered:                                                 12/08/2014
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Attorney Joshua L. Dratel dated December 5, 2014 re: This letter is submitted
               on behalf of defendant Ross Ulbricht, and respectfully requests that the Court permit the motions in limine, the deadline for which the Court graciously extended until Monday, December 8,
               2014, to be filed Tuesday, December 9, 2014, while leaving the time for any replies - due December 12, 2014 - unchanged. ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B.
               Forrest on 12/5/2014)(bw)
           107 Filed & Entered:                                         12/09/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSAs Timothy T. Howard / Serrin Turner, dated December 9, 2014 re: On
               October 17, 2014, the Court ordered that the parties submit final pretrial materials by Wednesday, December 10, 2014, to include trial witness lists. The Government submits this letter to
               respectfully request leave from the Court to redact the names of cooperating witnesses from the list of Government witnesses. ENDORSEMENT: Defendant to respond to the instant letter
               request as soon as practicable (not later than 12/11 at 10am). (Signed by Judge Katherine B. Forrest on 12/9/2014)(bw)
           108 Filed & Entered:                                         12/09/2014 Motion in Limine
               Terminated:                                              01/07/2015
               Docket Text: MOTION in Limine - Government's Pretrial Motions in Limine. Document filed by USA as to Ross William Ulbricht. (Howard, Timothy)
               Filed & Entered:                                         12/10/2014 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to RE-FILE
               Document [115] Proposed Voir Dire Questions. Use the document type Letter found under the document list Other Documents. (ka)
               Filed:                                                   12/10/2014 Note Regarding Deleted Document
               Entered:                                                 12/18/2014




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               Docket Text: ***DELETED DOCUMENT. Deleted document number 109 Endorsed Letter, as to Ross William Ulbricht. The document was incorrectly filed in this case. (dnd)
           110 Filed & Entered:                                        12/10/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Forrest Chambers from Lindsay Lewis dated 12/10/14 re: Motion in Limine & Objections to Government
               Exhibits...ENDORSEMENT...Post to docket. Redacted versions of all docs, which can be filed possibly in such form should be. File redacted versions by COB today. (Signed by Judge
               Katherine B. Forrest on 12/10/14)(jw)
           111 Filed & Entered:                                        12/10/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht ( Status Conference set for 12/15/2014 at 10:00 AM before Judge Katherine B. Forrest.) One of the issues defendant raises in his motion in
               limine relates to a currently non-public matter. To discuss and resolve this issue requires receipt of the Government's response, and a conference dedicated to that issue. Accordingly, the Court
               has set a conference for Monday, December 15, 2014 at 10:00a.m. for this purpose. In advance of that conference, the parties shall confer regarding whether (1) the Courtroom should be
               sealed, or (2) the matter can/should be taken up in the robing room. The parties shall inform the Court not later than C.O.B. Friday, December 12, 2014, as to their views regarding the same.
               (Signed by Judge Katherine B. Forrest on 12/10/14)(jw)
           112 Filed & Entered:                                        12/10/2014 Motion in Limine
               Terminated:                                             01/07/2015
               Docket Text: FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government Exhibits. Document filed by Ross William Ulbricht. (Dratel, Joshua)
           113 Filed & Entered:                                        12/10/2014 Declaration in Support of Motion
               Docket Text: DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: [112] FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government
               Exhibits.. (Dratel, Joshua)
           114 Filed & Entered:                                        12/10/2014 Memorandum in Support of Motion
               Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [112] FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government Exhibits.. (Dratel, Joshua)
           115 Filed & Entered:                                        12/10/2014 Proposed Voir Dire Questions
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - Proposed Voir Dire Questions by Ross William Ulbricht. (Dratel, Joshua) Modified on 12/10/2014
               (ka).
           116 Filed & Entered:                                        12/10/2014 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated December 10, 2014 re: Defendant's Proposed Voir Dire (Lewis,
               Lindsay)
           117 Filed & Entered:                                        12/10/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSAs Serrin Turner and Tim Howard dated 12/10/2014 re: Pre-trial Order
               Document filed by USA. (Turner, Serrin)
           118 Filed:                                                  12/10/2014 Endorsed Letter
               Entered:                                                12/11/2014
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 12/10/2014 re: This letter is submitted on behalf of
               defendant Ross Ulbricht, in regard to the Joint Proposed Request to Charge, due today, December 10, 2014. We are currently finishing our redlining of the governments proposed Request to
               Charge. After consulting with the government, two options exist: we can either send the redlined version of the Request to Charge to the court tonight, or we can send it to the government to
               see if there are any additional areas in which we are able to reach agreement. ENDORSEMENT: Submit tonight to the Government. SO ORDERED. (Signed by Judge Katherine B. Forrest on
               12/10/2014)(dnd)
           119 Filed & Entered:                                        12/11/2014 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on E-Mail sent to Joseph Pecorino of Judge Forrest's Chambers from Attorney Lindsay Lewis on 12/10/2014 7:45PM re:
               Attached please find a letter to the Court in opposition to the government's December 9, 2014, letter requesting leave from the Court to redact the names of the cooperating witnesses from the
               list of government witnesses. ENDORSEMENT: All letters and filings with the Court must be filed via ECF unless there is some truly important reason not to. If something cannot be filed
               publicly, then it must be filed in redacted form simultaneously on within the same business day. (Signed by Judge Katherine B. Forrest on 12/11/2014)(bw)
           120 Filed & Entered:                                        12/11/2014 Order




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               Docket Text: MEMORANDUM DECISION & ORDER as to Ross William Ulbricht. Ross Ulbricht ("defendant" or "Ulbricht") is charged with a variety of crimes relating to his alleged design,
               administration, and operation of an online marketplace known as "Silk Road." (ECF No. 52.) Trial is scheduled to commence on January 5, 2015. Before the Court is the Government's request
               for leave to redact the names of cooperating witnesses from the list of witnesses provided as part of the Government's final pretrial materials. (ECF No. 107.) The Government has agreed to
               provide the identities of such witnesses on January 2, 2015. According to theGovernment, disclosure on that date will provide at least ten days' notice regarding the witnesses' identities prior to
               their testimony at trial. Defendant has opposed this application. (ECF No. 119.). The Government has represented that it will provide the identities of thecooperating witnesses on January 2,
               2015, and it has disclosed the identities of itsfirst two witnesses, both of whom are multi-day witnesses. The Court weighsdefendant's need to prepare for trial against the Government's
               proffered reason for withholding the identities of its cooperating witnesses until January 2, 2015. And while the Court currently has no view as to the merit of the Government's contention
               regarding defendant's alleged solicitations of murders-for-hire, it is in no position to find that they are baseless or that witnesses who are known to be preparing to testify against defendant
               would not be at risk of some retaliatory act. While defendant has limited access to the outside world, that has been true of many defendants in many cases who have creatively managed around
               such limitations. (Signed by Judge Katherine B. Forrest on 12/11/14)(jw)
           121 Filed & Entered:                                        12/11/2014 Request to Charge
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - Request To Charge by USA as to Ross William Ulbricht. (Attachments: # (1) Joint RTCs (redline))
               (Turner, Serrin) Modified on 12/12/2014 (ka).
               Filed & Entered:                                        12/12/2014 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to RE-FILE
               Document [121] Request to Charge. Use the document type Letter found under the document list Other Documents.***NOTE: Proposed Jury Instructions must be filed
               individually. Use event code Proposed Jury Instructions located under Trial Documents. (ka)
               Filed & Entered:                                        12/12/2014 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to RE-FILE
               Document [123] Request to Charge. Use the document type Letter found under the document list Other Documents.***NOTE: Proposed Jury Instructions must be filed
               individually. Use event code Proposed Jury Instructions located under Trial Documents. (ka)
           122 Filed & Entered:                                        12/12/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Government dated 12/12/2014 re: Joint Proposed Verdict Form Document filed by
               USA. (Attachments: # (1) Joint Proposed Verdict Form - Redline)(Turner, Serrin)
           123 Filed & Entered:                                        12/12/2014 Request to Charge
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - Request To Charge by USA as to Ross William Ulbricht. (Attachments: # (1) Joint RTCs - revised
               redline)(Turner, Serrin) Modified on 12/12/2014 (ka).
           124 Filed & Entered:                                        12/12/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. It is hereby ORDERED that in advance of, but to be discussed at the final pretrial conference, the parties shall confer on a list of terms likely
               to arise and determine whether there is any likelihood of stipulations to definitions. In prior trials involving complex matters, the Court has requested the parties to confer on definitions of
               terms and a handout has sometimes been provided to the jury with those terms. A witness in the ordinary course has then explained the terms. The Court has allowed the jury to retain the
               handout at their seats throughout the trial. Among the types of terminology the parties will want to consider including in such a "glossary" are the following: Online chats, Application(s), Log,
               Browser, Tor, IP address, Servers, Server side, Bitcoin, bitcoin process: ledger, bitcoin value, PIN, PTH, Codebase, Configuration files, Controllers, Support controllers, Administrator,
               administrative/administrator privileges, Path, Scripting language. SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/12/2014)(ft)
           125 Filed & Entered:                                        12/12/2014 Order
               Docket Text: CORRECTED MEMORANDUM DECISION & ORDER as to Ross William Ulbricht. Ross Ulbricht ("defendant" or "Ulbricht") is charged with a variety of crimes relating to his
               alleged design, administration, and operation of an online marketplace known as "Silk Road." (ECF No. 52.) Trial is scheduled to commence on January 5, 2015. Before the Court is the
               Government's request for leave to redact the names of cooperating witnesses from the list of witnesses provided as part of the Government's final pretrial materials. (ECF No. 107.) The
               Government has agreed to provide the identities of such witnesses on January 2, 2015. According to the Government, disclosure on that date will provide at least ten days' notice regarding the
               witnesses' identities prior to their testimony at trial. Defendant has opposed this application. (ECF No. 119.) The Government has represented that it will provide the identities of the
               cooperating witnesses on January 2, 2015, and it has disclosed the identities of its first two witnesses, both of whom are multi-day witnesses. The Court weighs defendant's need to prepare for
               trial against the Government's proffered reason for withholding the identities of its cooperating witnesses until January 2, 2015. And while the Court currently has no view as to the merit of the
               Government's contention regarding defendant's alleged solicitations of murders-for-hire, it is in no position to find that they are baseless or that witnesses who are known to be preparing to
               testify against defendant would not be at risk of some retaliatory act. While defendant has limited access to the outside world, that has been true of many defendants in many cases who have
               creatively managed around such limitations. Disclosure on January 2, 2015 is sufficient. (Signed by Judge Katherine B. Forrest on 12/12/2014)(ft)




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           126 Filed & Entered:                                        12/12/2014 Memorandum in Opposition to Motion
               Docket Text: MEMORANDUM in Opposition by Ross William Ulbricht re [108] MOTION in Limine - Government's Pretrial Motions in Limine.. (Dratel, Joshua)
           127 Filed & Entered:                                        12/12/2014 Memorandum in Opposition to Motion
               Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [112] FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government Exhibits..
               (Howard, Timothy)
               Filed & Entered:                                        12/15/2014 Status Conference
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest: Conference as to Ross William Ulbricht held on 12/15/2014. Defendant present with attys Joshua Dratel,
               Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and TImothy Howard present. Court Reporter present. Conference held. Detention continued. (jp)
           128 Filed & Entered:                                        12/15/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court has made several minor non-substantive edits to the juror questionnaire. The revised version, as provided to the Jury Department,
               is attached as Exhibit A. The Court will email the parties a revised version of the Excel spreadsheet, which the parties shall fill in and provide to the Court as set forth in the Court's December
               1, 2014 order. (ECF No. 100.) SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/15/2014)(dnd)
           129 Filed & Entered:                                        12/16/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. Further to the Court's questions and concerns as expressed on the record on December 15, the court needs to further understand the
               government's legal theory as to the following: 1. Does the government contend that the defendant was the hub in a hub and spoke conspiracy -- or would the government characterize his
               alleged position otherwise? 2. If the defendant is alleged to be at the center of the conspiracy as a hub or occupying a position akin to a hub, does the government agree that it must prove the
               existence of a rim to connect the various co-conspirators to each other? If not, please provide case law support for the government's position. 3. Does the government contend that all sellers of
               all types of drugs during the entire conspiracy timeframe were part of a single conspiracy? If so, please provide case law support. 4. What does "mutual dependence" mean as a matter of law
               and what must the government prove to demonstrate this? Put another way, apart from asserting mutual dependence, must the government show that a seller of LSD on day one of the launch
               was mutually dependent on a seller of heroin on day 250? 5. How does mutual dependence work when buyers and sellers are targeting particular drugs only? (That is, why does a seller of LSD
               care about the vibrancy of the marketplace for heroin? What type of proof could establish any necessary inference?) The court would like to have the government's responses before or at the
               final pre-trial conference. SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/16/2014)(bw)
           130 Filed & Entered:                                        12/16/2014 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 12/16/2014 re: Court's Order Regarding List of
               Defined Terms Document filed by USA. (Howard, Timothy)
               Filed:                                                  12/17/2014 Pretrial Conference
               Entered:                                                12/18/2014
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest: FinalPretrial Conference as to Ross William Ulbricht held on 12/17/2014. Defendant present with attys
               Joshua Dratel, Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and Timothy Howard present. Court Reporter present. Conference held. Detention continued. (jp)
           131 Filed & Entered:                                        12/17/2014 Letter Motion
               Terminated:                                             12/19/2014
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 12/17/2014 re: [129] Order,,,,,, re: Response to the Court's December 16 Order .
               Document filed by USA as to Ross William Ulbricht. (Turner, Serrin)
           132 Filed & Entered:                                        12/17/2014 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [130] Letter filed by USA. ENDORSEMENT: Ordered: Fine. I just want us to discuss the concept at the FPTC
               today. I don;t need the stip. before 12/30. (Signed by Judge Katherine B. Forrest on 12/17/2014)(ft)
           133 Filed & Entered:                                        12/18/2014 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Forrest NYSD Chambers from NYSD Help Desk dated 12/10/2014 re: Letter received from attorney Joshua
               Dratel to have document number 109 removed from docket. Document was inadvertently filed on the CM/ECF system, and should have instead been filed under seal. ENDORSEMENT: ECF
               No. 109 to be removed from the public docket. SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/17/2014)(dnd)
           134 Filed & Entered:                                        12/19/2014 Letter Motion
               Terminated:                                             12/19/2014




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               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 12/19/2014 re: Request for One-Week Adjournment of Trial . Document filed by USA as
               to Ross William Ulbricht. (Turner, Serrin)
           135 Filed & Entered:                                          12/19/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           136 Filed & Entered:                                          12/19/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           137 Filed & Entered:                                          12/19/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           138 Filed & Entered:                                          12/19/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           139 Filed & Entered:                                          12/19/2014 Order
               Docket Text: ORDER as to Ross William Ulbricht. Potential jurors will be given the questionnaire on Monday, January 5, 2015. It is anticipated that the parties will have access to the
               questionnaires by 3:00 p.m. on that day. The parties shall agree as between themselves which side shall take the laboring oar of filling in the spreadsheet based on juror responses. Both sides
               must agree that the Excel spreadsheet properly reflects the questionnaire responses. The parties shall then confer and present the Court with a list of jointly agreed strikes as well as a list of
               non-agreed requested strikes not later than Thursday, January 8, 2015 at 5:00 p.m. (The Court must call prospective jurors who do not need to appear.) The Court shall review all agreed cause-
               strikes and those proposed by one side but not agreed by the other. The Court may determine that it is appropriate to strike one or more of these (or other) potential jurors. The Court will then
               separate the remaining jurors into two waves: the first wave will be those jurors who do not have potential or likely cause issues, and the second wave will be all others. The Court intends to
               proceed with voir dire initially using the first wave of potential jurors. The second wave of potential jurors shall only be called to the courtroom if necessary. The updated juror questionnaire
               (reflecting the change in trial start date) is attached. SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/19/2014)(ft)
           140 Filed & Entered:                                          12/19/2014 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [134] LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 12/19/2014 re:
               Request for One-Week Adjournment of Trial filed by USA. ENDORSEMENT: ORDERED: Application Granted. Trial adjourned to Tuesday, January 13, 2015, at 9:00 am. Order re jury
               selection process to follow. (Jury Trial set for 1/13/2015 at 09:00 AM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest on 12/19/2014)(ft) Modified on 12/19/2014
               (ft).
           141 Filed & Entered:                                          12/29/2014 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (rz)
           142 Filed & Entered:                                          01/07/2015 Memorandum & Opinion
               Docket Text: OPINION & ORDER as to Ross William Ulbricht. Defendant's motion to preclude certain evidence regarding Silk Road product listings and transactions is DENIED, subject to
               the ruling in subpart F. Defendant's motions to preclude evidence of defendant's murder-for-hire solicitations and to strike references to such solicitations as surplusage are DENIED. The
               Government's corresponding motion to allow the murder-for-hire evidence is GRANTED. Defendant's motion to preclude certain Government exhibits as insufficiently authenticated is
               DENIED. Defendant can renew this motion as to any particular exhibit when it is offered at trial. Defendant's motion to preclude evidence that he ordered fraudulent identification documents
               from Silk Road is DENIED. The Government's corresponding motion to allow this evidence is GRANTED. Defendant's motion to preclude a variety of government exhibits not covered by the
               other motions in limine is GRANTED in part and DENIED in part. The specific rulings are set forth above. DENIED. The Government's motions to preclude argument and evidenceregarding
               (1) any potential consequences of conviction, and (2) defendant's political views or other excuses is DENIED as moot. The Clerk of Court is directed to terminate the motions at ECF Nos. 108
               and 112. (Signed by Judge Katherine B. Forrest on 1/7/2015)(ft)
           143 Filed & Entered:                                          01/08/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (rz)
           144 Filed & Entered:                                          01/09/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court has reviewed the list of strikes to which both parties have consented. The Court agrees, and hereby strikes the following
               prospective jurors: 3, 9, 13, 18, 22, 24, 25, 34, 35, 36, 40, 42, 44, 47, 48, 54, 57, 67, 68, 69, 71, 72, 74, 76, 78, 79, 80, 82, 83, 84, 88, 94, 95, 96, 99, 100, 103, 105, 108, 109, 125, 126, 128, 129,
               131, 132, 133, 142, 145, 147, 149, 150, 151, 161, 172, 174, 177, 179, 182. Based on its review of the questionnaires, the Court also strikes the following prospective jurors: 6, 7, 8, 14, 16, 20,
               31, 37, 39, 45, 46, 56, 58, 60, 62, 64, 86, 91, 117, 118, 120,122, 123, 130, 139, 144, 148, 152, 157, 158, 160, 167, 183. The parties shall provide the Court with printed copies of all filled-out
               juror questionnaires, marked with each jurors number, as soon as is practicable, but not later than Saturday, January 10, 2015. (Signed by Judge Katherine B. Forrest on 1/9/15)(jw)



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SDNY CM/ECF NextGen Version 1.2-History/Documents Query                                                                        https://ecf.nysd.uscourts.gov/cgi-bin/HistDocQry.pl?122210934655104-L_1_0-1
                                                 Case 1:14-cr-00068-LGS                    Document 359-7               Filed 06/28/19           Page 17 of 37

           145 Filed & Entered:                                       01/09/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on 12/17/2014 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Andrew Walker,
               (212) 805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
               date it may be obtained through PACER. Redaction Request due 2/2/2015. Redacted Transcript Deadline set for 2/12/2015. Release of Transcript Restriction set for 4/13/2015. (McGuirk,
               Kelly)
           146 Filed & Entered:                                       01/09/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Conference proceeding held on 12/17/2014
               has been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           147 Filed & Entered:                                       01/09/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated January 9, 2015 re: the reading of internet communications during
               trial (Dratel, Joshua)
           148 Filed & Entered:                                       01/12/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serkin Turner dated 10/13/2014 re: The Government respectfully submits this
               letter in response to the Court's order dated October 8, 2014. ENDORSEMENT: Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft)
           149 Filed & Entered:                                       01/12/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay Lewis dated 1/8/2015 re: As per the Court's September 16, 2014, Order,
               attached please find (1) the Excel spreadsheet prepared from the juror questionnaire submitted on behalf of Mr. Ulbricht in the above-captioned case; and (2) s a cover letter explaining the
               contents of the spreadsheet. ENDORSEMENT: Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft)
           150 Filed & Entered:                                       01/12/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serkin Turner dated 8/21/2014 re: The Government respectfully requests that the
               defendant's arraignment on the Superseding Indictment be scheduled for the same time as the upcoming pretrial conference presently scheduled for September 5, 2014, at 12:00 p.m.
               ENDORSEMENT: Ordered: Post to docket. Dealt with in ordinary course. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft)
           151 Filed:                                                 01/12/2015 Sealed Document
               Entered:                                               01/13/2015
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           152 Filed:                                                 01/12/2015 Sealed Document
               Entered:                                               01/13/2015
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           153 Filed:                                                 01/12/2015 Sealed Document
               Entered:                                               01/13/2015
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
               Filed:                                                 01/13/2015 Voir Dire
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Voir Dire held and Jury Trial begun on 1/13/2015 as to Ross William Ulbricht. (jp)
               Filed:                                                 01/14/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/14/2015. (jp)
               Filed:                                                 01/15/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/15/2015. (jp)




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                                                 Case 1:14-cr-00068-LGS                    Document 359-7               Filed 06/28/19           Page 18 of 37

           154 Filed & Entered:                                       01/19/2015 Letter Motion
               Terminated:                                            02/11/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 01/19/2015 re: Striking/Preclusion of Testimony . Document filed by USA as to Ross
               William Ulbricht. (Attachments: # (1) Exhibit A, # (2) Exhibit B, # (3) Exhibit C, # (4) Exhibit D, # (5) Exhibit E)(Turner, Serrin)
           155 Filed & Entered:                                       01/19/2015 Letter Motion
               Terminated:                                            02/11/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated January 19, 2015 re: [154] LETTER MOTION addressed to Judge Katherine B.
               Forrest from the Government dated 01/19/2015 re: Striking/Preclusion of Testimony . re: the governments January 19, 2015, letter seeking preclusion of certain questioning of Homeland
               Security Investigations Special Agent Jared Der-Yeghiayan . Document filed by Ross William Ulbricht. (Lewis, Lindsay)
               Filed:                                                 01/20/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/20/2015. (jp)
           156 Filed & Entered:                                       01/20/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 1/19/15 re: About twenty minutes ago, while eating
               dinner, I broke a tooth. Obviously, I would very much like to get to the dentist as quickly as possible but of course there's the ongoing trial. I'm confident I could get in to see my dentist
               tomorrow morning at 9 a.m. but don't know anything beyond that. I also don't know how I would feel in the morning. If anyone (including AUSA's) sees this e-mail tonight, please let me know
               everyone's position on how to proceed..ENDORSEMENT: It is too late to have the jury stay home so they will be here. Go to the dentist and let us know ASAP what your schedule/status is.
               (Signed by Judge Katherine B. Forrest on 1/20/15)(jw)
               Filed:                                                 01/21/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/21/2015. (jp)
           157 Filed & Entered:                                       01/21/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 1/20/15 re: Please find attached highlighted excerpts of SA
               Der-Yeghiayan's testimony that the Government respectfully requests be stricken from the record in accordance with the Court's ruling from this morning...ENDORSEMENT...Post to docket.
               (Signed by Judge Katherine B. Forrest on 1/21/15)(jw)
           158 Filed & Entered:                                       01/21/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           159 Filed & Entered:                                       01/21/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           160 Filed & Entered:                                       01/21/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           161 Filed & Entered:                                       01/21/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
               Filed:                                                 01/22/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/22/2015. (jp)
           162 Filed & Entered:                                       01/23/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Attached to this Order are draft jury instructions. The Court will separately e-mail a Word version of these instructions to the parties. The
               parties shall submit any proposed revisions to the instructions not later than Monday evening, January 26, 2015. The Court will hold the first charging conference on Tuesday, January 27, 2015,
               at 9 a.m. (Signed by Judge Katherine B. Forrest on 1/23/2015)(bw)




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                                                 Case 1:14-cr-00068-LGS                   Document 359-7               Filed 06/28/19           Page 19 of 37

               Filed:                                                01/26/2015 Jury Trial
               Entered:                                              02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/26/2015. (jp)
           163 Filed & Entered:                                      01/26/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht on E-Mail addressed to Judge Forrest's Chambers from AUSA Serrin Turner dated 1/22/2015 08:40 AM re: Please see the
               attached letter concerning the admissibility of the statement from the Complaint that was raised yesterday morning. The Government will plan to file the letter later today on ECF. Also
               attached is a relevant case. ENDORSEMENT: Post to docket. (Signed by Judge Katherine B. Forrest on 1/23/2015)(bw)
               Filed:                                                01/28/2015 Jury Trial
               Entered:                                              02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/28/2015. (jp)
           164 Filed & Entered:                                      01/28/2015 Letter Motion
               Terminated:                                           02/02/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 01/28/2015 re: [162] Order, Set Deadlines/Hearings,, re: Modification of Jury Charges .
               Document filed by USA as to Ross William Ulbricht. (Turner, Serrin)
               Filed:                                                01/29/2015 Jury Trial
               Entered:                                              02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 1/29/2015. (jp)
           165 Filed & Entered:                                      01/29/2015 Letter Motion
               Terminated:                                           02/01/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 01/29/2015 re: Preclusion of Expert Testimony . Document filed by USA as to Ross
               William Ulbricht. (Attachments: # (1) Exhibit A)(Turner, Serrin)
           166 Filed & Entered:                                      01/30/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Any party wishing to submit additional materials regarding the jury instructions shall do so not later than 5 p.m. today, January 30, 2015.
               This applies to all proposed changes except those that cannot be reasonably anticipated because the evidentiary record has not yet been closed. SO ORDERED. (Signed by Judge Katherine B.
               Forrest on 1/30/2015)(ft)
           167 Filed & Entered:                                      01/30/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 1/30/2015 re: Requests to Charge and Defense
               Exhibits Document filed by USA. (Howard, Timothy)
           168 Filed & Entered:                                      01/30/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated January 30, 2015 re: Requests to Charge (Dratel, Joshua)
           169 Filed & Entered:                                      01/30/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 01/30/2015 re: Defense Letter re: Requests to Charge
               Document filed by USA. (Turner, Serrin)
               Filed:                                                01/31/2015 Set/Reset Deadlines/Hearings
               Entered:                                              02/05/2015
               Docket Text: Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Motions due by 1/31/2015. Responses due by 2/2/2015. (ft)
           170 Filed & Entered:                                      01/31/2015 Letter Motion
               Terminated:                                           02/01/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 1/31/2015 re: Motion to Preclude Expert Testimony of Dr. Steven M. Bellovin
               . Document filed by USA as to Ross William Ulbricht. (Attachments: # (1) Exhibit A)(Howard, Timothy)




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           171 Filed & Entered:                                         01/31/2015 Letter Motion
               Terminated:                                              01/31/2015
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated
               January 31, 2015 re: [165] LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 01/29/2015 re: Preclusion of Expert Testimony . re: To Permit the Expert
               Testimony of Defense Witness Andreas Antonopoulos . Document filed by Ross William Ulbricht. (Dratel, Joshua) Modified on 2/3/2015 (ka).
           178 Filed:                                                   01/31/2015 Memorandum & Opinion
               Entered:                                                 02/05/2015
               Docket Text: OPINION & ORDER as to Ross William Ulbricht. Any further submissions regarding defendants proposed expert witness Andreas M. Antonopoulos shall be submitted not later
               than 2:00 p.m. today, January 31, 2015. Any other motions regarding experts must be received by 4:00 p.m. today, January 31, 2015. Any response to any such new motions shall be submitted
               not later than 12:00 p.m. tomorrow, February 1, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft)
           179 Filed:                                                   01/31/2015 Order
               Entered:                                                 02/05/2015
               Docket Text: ORDER as to Ross William Ulbricht. The defense shall disclose any exhibits it proposes to use with experts or otherwise to the Government not later than 5 p.m. today, January
               31, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft)
           180 Filed:                                                   01/31/2015 Memorandum & Opinion
               Entered:                                                 02/05/2015
               Docket Text: OPINION & ORDER as to Ross William Ulbricht. The Court is unclear as to whether there is an additional expert who has been disclosed. Any additional expert would have to
               have been disclosed before nowif such a disclosure has not been made by now, it is untimely and shall not be allowed. All exhibits relating to defense witnesses shall be made not later than
               10:00 p.m. this evening, January 31, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft)
           181 Filed:                                                   01/31/2015 Memorandum & Opinion
               Entered:                                                 02/05/2015
               Docket Text: OPINION & ORDER as to Ross William Ulbricht. The Court has just learned that on January 30, 2015, defendant noticed an additional expert witness, Mr. Steven M. Bellovin.
               The Government has moved to preclude Bellovin from testifying. (ECF No. 70.) Defendant shall respond to the Government's motion to preclude Bellovin's testimony not later than Sunday,
               February 1, 2015 at 9:00 a.m. Today's 10:00 p.m. deadline for defendant's response to the Government's motion to preclude the testimony of Andreas M. Antonopoulos (ECF No. 165) remains
               in place. SO ORDERED. (Responses due by 2/1/2015) (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft)
           172 Filed & Entered:                                         02/01/2015 Letter Motion
               Terminated:                                              02/01/2015
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated
               February 1, 2015 re: [170] LETTER MOTION addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 1/31/2015 re: Motion to Preclude Expert Testimony of Dr.
               Steven M. Bellovin . re: To Admit the Expert Testimony of Defense Witness Dr. Steven Bellovin . Document filed by Ross William Ulbricht. (Dratel, Joshua) Modified on 2/3/2015 (ka).
           173 Filed:                                                   02/01/2015 Memorandum & Opinion
               Entered:                                                 02/02/2015
               Docket Text: OPINION & ORDER as to Ross William Ulbricht. Lawyers and clients make tactical decisions. The Court cannot always understand why certain decisions are made, nor need it.
               But when tactical decisions run contrary to established rules and case law, the Court's duty is clear. The Court is duty-bound to apply the law as it exists, not as any party wishes it to be....[See
               this Opinion & Order]... Why did the defense choose to proceed as it has? This Court cannot know.Perhaps a tactical choice not to show the defenses hand; perhaps to try andaccumulate appeal
               points; perhaps something else. In any event, the outcome ofthese choices is that the Court hereby GRANTS the Government's motions topreclude the testimony of both experts. (ECF Nos.
               165, 170.)...[See this Opinion & Order]... II. CONCLUSION: For the reasons set forth above, the Government's motions to preclude are GRANTED. The Clerk of Court is directed to close the
               motions at ECF Nos. 165 and 170. SO ORDERED. (Signed by Judge Katherine B. Forrest on 2/1/2015)(bw)
               Filed:                                                   02/02/2015 Jury Trial
               Entered:                                                 02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 2/2/2015. (jp)
           174 Filed & Entered:                                         02/02/2015 Memorandum & Opinion




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               Docket Text: OPINION & ORDER as to (14-Cr-68-1) Ross William Ulbricht. Pending before the Court are several applications by the parties to modify the proposed jury instructions
               circulated by the Court on January 23, 2015. (ECF No. 162.) This Opinion & Order sets forth the Court's determinations as to several proposed modifications.(See Footnote 1 on page 1 of this
               Opinion & Order)....[See Opinion & Order]... The Clerk of Court is directed to terminate the motion at ECF No. 164. SO ORDERED. (Signed by Judge Katherine B. Forrest on 2/2/2015)(bw)
               Filed & Entered:                                       02/03/2015 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to RE-FILE
               Document [172] LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated February 1, 2015 re: [170] LETTER MOTION addressed to Judge
               Katherine B. Forrest from AUSA Timothy T. Howard dated 1/31/2015 re: Motion to Preclude Ex. Use the document type Response to Motion found under the document list Replies,
               Opposition and Supporting Documents. (ka)
               Filed & Entered:                                       02/03/2015 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DOCUMENT TYPE ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to RE-FILE
               Document [171] LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated January 31, 2015 re: [165] LETTER MOTION addressed to Judge
               Katherine B. Forrest from the Government dated 01/29/2015 re: Preclusion of Expert Testimo. Use the document type Response to Motion found under the document list Replies,
               Opposition and Supporting Documents. (ka)
               Filed:                                                 02/03/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held on 2/3/2015. (jp)
               Filed:                                                 02/04/2015 Jury Trial
               Entered:                                               02/05/2015
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to Ross William Ulbricht held and concluded on 2/4/2015. (jp)
           175 Filed & Entered:                                       02/04/2015 Response to Motion
               Docket Text: LETTER RESPONSE to Motion by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated January 31, 2015 re: [165] LETTER MOTION
               addressed to Judge Katherine B. Forrest from the Government dated 01/29/2015 re: Preclusion of Expert Testimony .. (Dratel, Joshua)
           176 Filed & Entered:                                       02/04/2015 Response to Motion
               Docket Text: LETTER RESPONSE to Motion by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated February 1, 2015 re: [170] LETTER MOTION
               addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 1/31/2015 re: Motion to Preclude Expert Testimony of Dr. Steven M. Bellovin .. (Dratel, Joshua)
           177 Filed & Entered:                                       02/04/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Attached are the jury instructions as delivered on February 4, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on
               2/4/2015)(bw)
           182 Filed & Entered:                                       02/05/2015 Jury Notes
               Docket Text: Jury Note docketed as Court Exhibit 1 as to Ross William Ulbricht filed. (jp)
           183 Filed & Entered:                                       02/05/2015 Jury Verdict
               Docket Text: JURY VERDICT as to Ross William Ulbricht (1) Guilty on Count 1s,2s,3s,4s,5s,6s,7s. (jp)
           184 Filed & Entered:                                       02/05/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 2/2/2015 re: Statement by Andrew Jones.
               ENDORSEMENT: Ordered: Post to Docket. (Signed by Judge Katherine B. Forrest on 2/5/2015)(ft)
           185 Filed & Entered:                                       02/05/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Attached to this order as Exhibit A is the resume of Steven M. Bellovin, which was submitted by the Government in connection with their
               motion to preclude him from testifying as an expert. (ECF No. 170.). SO ORDERED. (Signed by Judge Katherine B. Forrest on 2/5/2015)(ft)
           186 Filed & Entered:                                       02/05/2015 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT on DEFENDANT'S SUPPLEMENTAL REQUESTS TO CHARGE as to Ross William Ulbricht. ENDORSEMENT: Ordered: Post to docket. All
               handwriting is the Court's. (Signed by Judge Katherine B. Forrest on 2/5/2015)(ft)




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                                                 Case 1:14-cr-00068-LGS                    Document 359-7                Filed 06/28/19            Page 22 of 37

           187 Filed & Entered:                                       02/06/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. This Order recites and, where necessary, attaches the various drafts and requests in connection with the jury instructions. 1. The parties'
               initial joint requests to charge, filed on December 12, 2014, are at ECF No. 123. 2. The draft jury charge provided to the parties on January 23, 2015, is at ECF No. 162. 3. The blackline draft
               jury charge provided to the Court by the parties on January 27, 2015 is attached as Exhibit A. This blackline reflects the parties' proposed edits to the January 23, 2015 draft jury charge.
               Appended to the blackline is a list specifying who made each change. 4. The draft jury charge provided to the parties on February 1, 2015 is attached as Exhibit B. 5. Defendant's Supplemental
               Requests to Charge and proposed jury instruction with respect to character evidence, both submitted to the Court on February 2, 2015, are attached as Exhibit C. 6. The jury charge as delivered
               is at ECF No. 177.(See Footnote 1 on page 2 of Order). 7. The verdict form provided to the jury is attached as Exhibit D. SO ORDERED. (Signed by Judge Katherine B. Forrest on
               2/6/2015)(bw)
           188 Filed & Entered:                                       02/06/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court requires that post-trial motions be fully briefed one (1) month prior to sentencing, which is currently scheduled for May 15, 2015,
               at 10:00 a.m. The parties are directed to confer and not later than February 10, 2015, submit to the Court a schedule in which to accomplish the above. In the absence of a proposed schedule
               from the parties, the Court will set one (Signed by Judge Katherine B. Forrest on 2/6/15)(jw)
           189 Filed & Entered:                                       02/06/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht re: You have reputation evidence about the defendant's character trait for peacefulness and non-violence. You should consider
               character evidence together with and in the same way as all the other evidence in the case..ENDORSEMENT: Requested by defendant. Post to docket. (Signed by Judge Katherine B. Forrest
               on 2/6/15)(jw)
           190 Filed & Entered:                                       02/09/2015 Letter
               Docket Text: FILING ERROR - DEFICIENT DOCKET ENTRY - SIGNATURE ERROR - LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A.
               Lewis, Esq. dated January 31, 2015 re: Extension for Time for Filing of Response to the government's motion to preclude expert testimony and for the production of defense exhibits to the
               government (Lewis, Lindsay) Modified on 2/10/2015 (ka).
           191 Filed & Entered:                                       02/09/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 02/09/2015 re: briefing schedule for post-trial motions
               Document filed by USA. (Turner, Serrin)
               Filed & Entered:                                       02/10/2015 Notice to Attorney to Re-File Document - Deficient Docket Entry Error
               Docket Text: ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET ENTRY ERROR. Note to Attorney Lindsay Anne Lewis as to Ross William Ulbricht:
               to RE-FILE Document [190] Letter. ERROR(S): Attorney s/signature missing from document. (ka)
               Filed & Entered:                                       02/10/2015 Set/Reset Deadlines/Hearings
               Docket Text: Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Motions due by 3/6/2015. Replies due by 4/15/2015. Responses due by 4/3/2015. (ft)
           192 Filed & Entered:                                       02/10/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated January 31, 2015 re: Extension for Time for Filing of Response to
               the government's motion to preclude expert testimony and for the production of defense exhibits to the government (Lewis, Lindsay)
           193 Filed & Entered:                                       02/10/2015 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [191] Letter filed by USA. ENDORSEMENT: Ordered: The Government's schedule is adopted. Briefing shall be:
               defense motions: March 6, 2015, Gov't response: April 3, 2015, defense reply: April 15, 2015. (Signed by Judge Katherine B. Forrest on 2/10/2015)(ft)
           194 Filed & Entered:                                       02/18/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (mps)
           195 Filed & Entered:                                       02/20/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (mps)
           196 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/13/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)



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                                                 Case 1:14-cr-00068-LGS                    Document 359-7                Filed 06/28/19           Page 23 of 37

           197 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/13/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           198 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/14/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           199 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript
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               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           200 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/15/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           201 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/15/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           202 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/20/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           203 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/20/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           204 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/21/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           205 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/21/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           206 Filed & Entered:                                       02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/22/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           207 Filed & Entered:                                       02/25/2015 Notice of Filing Transcript




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               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/22/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           208 Filed & Entered:                                        02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht held on 1/22/2015 corrected trial before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
               (212) 805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
               date it may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk,
               Kelly)
           209 Filed & Entered:                                        02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/22/2015
               corrected trial has been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request
               Redaction of this transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           210 Filed & Entered:                                        02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/26/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           211 Filed & Entered:                                        02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/26/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           212 Filed & Entered:                                        02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/29/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           213 Filed & Entered:                                        02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/29/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           214 Filed & Entered:                                        02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/28/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           215 Filed & Entered:                                        02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 1/28/2015 has
               been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           216 Filed & Entered:                                        02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/2/15 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           217 Filed & Entered:                                        02/25/2015 Notice of Filing Transcript




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               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 2/2/15 has been
               filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If
               no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           218 Filed & Entered:                                         02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/3/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           219 Filed & Entered:                                         02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 2/3/2015 has been
               filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If
               no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           220 Filed & Entered:                                         02/25/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/4/15 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript Restriction set for 5/29/2015. (McGuirk, Kelly)
           221 Filed & Entered:                                         02/25/2015 Notice of Filing Transcript
               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Trial proceeding held on 2/4/15 has been
               filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this transcript. If
               no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           222 Filed & Entered:                                         03/06/2015 Motion for New Trial
               Terminated:                                              04/27/2015
               Docket Text: MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P.. Document filed by Ross William Ulbricht. (Dratel, Joshua)
           223 Filed & Entered:                                         03/06/2015 Declaration in Support of Motion
               Docket Text: DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: [222] MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P... (Attachments: # (1) Exhibit
               3500 Material Chart, # (2) Exhibit Government Exhibit Chart, # (3) Exhibit 1/8/15 Email)(Dratel, Joshua)
           224 Filed & Entered:                                         03/06/2015 Memorandum in Support of Motion
               Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [222] MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P... (Dratel, Joshua)
           225 Filed & Entered:                                         03/13/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (mps)
           226 Filed:                                                   03/30/2015 Endorsed Letter
               Entered:                                                 03/31/2015
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner and Timothy T. Howard dated 3/30/2015 re: The Government
               writes respectfully to inform the Court that the complaint attached hereto as Exhibit A, which concerns a corruption investigation conducted by the U.S. Attorneys Office for the Northern
               District of California (NDCA), was unsealed today..ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on 3/30/2015)(jw)
           227 Filed & Entered:                                         03/31/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 03/31/2015 re: Sealed Filings Document filed by USA.
               (Attachments: # (1) Sealed Filings)(Turner, Serrin)
           228 Filed & Entered:                                         03/31/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 03/31/2015 re: unsealing of trial transcripts Document filed by
               USA. (Turner, Serrin)
           229 Filed:                                                   03/31/2015 Memo Endorsement
               Entered:                                                 04/01/2015



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               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [228] LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government
               (by AUSA Serrin Turner / Timothy T. Howard) dated 03/31/2015 re: unsealing of trial transcripts. Yesterday, at the request of the Government, the Court ordered the unsealing of certain sealed
               filings relating to a corruption investigation by the U.S. Attorney's Office for the Northern District of California (the "NDCA Investigation"). For the same reasons underlying its original
               request, the Government additionally requests that any courtroom transcripts that were previously scaled due to the existence of the NDCA Investigation now be unsealed. The defense
               consents to this request. The transcripts at issue include: the sealed portion of the pre-trial conference held on December 15, 2014; and the sealed portions of the trial transcripts, to include:
               pages 118-19 (January 13, 2015); pages 594-614 (January 20, 2015); pages 1440-42 (January 28, 2015); and pages 2084-97 (February 3, 2015). ENDORSEMENT: SO ORDERED. (Signed by
               Judge Katherine B. Forrest on 3/31/2015)(bw)
               Filed & Entered:                                        04/01/2015 Transmission to Sealed Records Clerk
               Docket Text: Transmission to Sealed Records Clerk: as to Ross William Ulbricht. Transmitted re: [229] Memo Endorsement, to the Sealed Records Clerk for the unsealing of document. (bw)
           230 Filed & Entered:                                        04/03/2015 Memorandum in Opposition to Motion
               Docket Text: MEMORANDUM in Opposition by USA as to Ross William Ulbricht re [222] MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P... (Attachments: # (1) Exhibit
               A)(Turner, Serrin)
           231 Filed & Entered:                                        04/15/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis dated 4/15/2015 re: Adjournment of Reply.
               ENDORSEMENT: Ordered: Application granted. (Replies due by 4/16/2015.) (Signed by Judge Katherine B. Forrest on 4/15/2015)(ft)
           232 Filed & Entered:                                        04/16/2015 Reply Memorandum of Law in Support of Motion
               Docket Text: REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: [222] MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P.. . (Attachments: # (1) Exhibit
               1: 5/29/13 Email, # (2) Exhibit 2: 8/15/13 Email, # (3) Exhibit 3: Athavale Report 1, # (4) Exhibit 4: Athavale Report 2, # (5) Exhibit 5: Undated Report, # (6) Exhibit 6: Silk Road
               Investigation Report, # (7) Exhibit 7: 9/20/13 Emails, # (8) Exhibit 8: Defense Exhibit C, # (9) Exhibit 9: Defense Exhibit E)(Dratel, Joshua)
           233 Filed & Entered:                                        04/17/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Government shall notify the Court as soon as practicable as to whether any victims intend to speak at Mr. Ulbricts sentencing; and, if so,
               the number and the likely duration. The Government shall update the Court on an ongoing basis until the sentencing. (Signed by Judge Katherine B. Forrest on 4/17/2015)(jw)
           234 Filed & Entered:                                        04/17/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 04/17/2015 re: Sentencing Document filed by USA. (Turner,
               Serrin)
           235 Filed & Entered:                                        04/24/2015 Letter Motion
               Terminated:                                             04/24/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated April 24, 2015 re: Sentencing Adjournment . Document filed by Ross William
               Ulbricht. (Dratel, Joshua)
           236 Filed & Entered:                                        04/24/2015 Order on Letter Motion
               Docket Text: MEMO ENDORSEMENT granting [235] LETTER MOTION Adjournment of Sentencing as to Ross William Ulbricht (1). ENDORSEMENT: Ordered: The Government shall
               provide the Court with its view as to the request not later than 4/28/15. (Signed by Judge Katherine B. Forrest on 4/24/2015) (ft)
           237 Filed & Entered:                                        04/27/2015 Order on Motion for New Trial
               Docket Text: OPINION & ORDER denying [222] Motion for New Trial as to Ross William Ulbricht (1). For the reasons set forth above, Ulbricht's motion for a new trial is DENIED. The
               Clerk of Court is directed to terminate the motion at ECF No. 222. SO ORDERED. (Signed by Judge Katherine B. Forrest on 4/27/2015) (ft)
           238 Filed & Entered:                                        04/28/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard dated 04/28/2015 re: Defendant's Request for an
               Adjournment of Sentencing Document filed by USA. (Howard, Timothy)
           239 Filed & Entered:                                        04/28/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 4/24/15 re: Reschedule Sentencing...ENDORSEMENT:
               The Court shall have a Fatico Hearing on May 22 at 9am. Defendant shall inform the Court and the Government not later than May 15. The matters as to which the hearing is requested;
               defendant shall provide any evidence is support of his position and a list of witnesses also by May 15. The sentencing is adjourned only until 5/29/15 at 1pm., as to Ross William Ulbricht(



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               Fatico Hearing set for 5/22/2015 at 09:00 AM before Judge Katherine B. Forrest., Sentencing set for 5/29/2015 at 01:00 PM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B.
               Forrest on 4/28/15)(jw)
           240 Filed & Entered:                                       05/15/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 15, 2015 re: the Matters to Which the Fatico Hearing
               is Addressed and the Evidence in Support of Mr. Ulbricht's Position. (Dratel, Joshua)
           241 Filed & Entered:                                       05/15/2015 Letter Motion
               Terminated:                                            05/19/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 15, 2015 re: the Matters to Which the Fatico Hearing is Addressed and the
               Evidence in Support of Mr. Ulbricht's Position . Document filed by Ross William Ulbricht. (Lewis, Lindsay)
           242 Filed & Entered:                                       05/15/2015 Declaration in Support of Motion
               Docket Text: DECLARATION of Lindsay A. Lewis, Esq. in Support as to Ross William Ulbricht re: [241] LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
               Esq. dated May 15, 2015 re: the Matters to Which the Fatico Hearing is Addressed and the Evidence in Support of Mr. Ulbricht's Position .. (Attachments: # (1) Exhibit 1--Bingham Article:
               Single Case Study, # (2) Exhibit 2-- Bingham Article: Study of User Experiences, # (3) Exhibit 3-- Bingham Article: Responsible Vendors, # (4) Exhibit 4- Ask a Drug Expert Physician SR
               Forum Thread, # (5) Exhibit 5-- Dr. X Private Msgs, # (6) Exhibit 6-- Weekly Report ro DPR of Thread Topics, # (7) Exhibit 7-- Msgs Btwn DPR and Dr. X, # (8) Exhibit 8-- Barratt Article:
               Use of SR, # (9) Exhibit 9-- Ralston Article: End of SR, # (10) Exhibit 10-- Ralston Article: SR Was Better, Safer, # (11) Exhibit 11-- Declaration of Tim Bingham, # (12) Exhibit 12--
               Declaration of Dr. Fernando Caudevilla (Dr. X), # (13) Exhibit 13 -- Declaration of Dr. Monica Barratt, # (14) Exhibit 14-- Declaration of Meghan Ralston, # (15) Exhibit 15 -- Curriculum
               Vitae for Dr. Mark Taff, # (16) Exhibit 16-- List of Documentary Evidence Provided to Dr. Taff)(Lewis, Lindsay)
           243 Filed & Entered:                                       05/18/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Please respond by C.O.B. 5/19/2015 or sooner to the following: 1. Does the Government request a Fatico hearing on the facts proffered by
               the defendant? -- Will the Government be offering any responsive factual materials on those topics? 2. The Court assumes the parties understand that even if they waive a Fatico hearing, the
               Court will make any necessary findings of fact based on the evidence before it as to matters relevant to sentencing. 3. The Court would like information within five (5) days the parties may
               have as to whether Silk Road transactions typically involved personal use quantities or resale quantities of narcotics. SO ORDERED: (Signed by Judge Katherine B. Forrest on 5/18/2015)(bw)
           244 Filed & Entered:                                       05/18/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated May 18, 2015 re: Fatico hearing Document filed by USA.
               (Attachments: # (1) Exhibit A, # (2) Exhibit B)(Turner, Serrin)
           245 Filed & Entered:                                       05/19/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The parties are advised that the Court shall review a number of sources cited in the articles submitted by the defense and, to the extent
               appropriate, refer to them. Among those is Not an Ebay for Drugs: The Cryptomarket Silk Road as a Paradigm Shifting Criminal Innovation by Judith Aldridge and David Dcary-Htu. (Signed
               by Judge Katherine B. Forrest on 5/19/15)(jw)
           246 Filed & Entered:                                       05/19/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis dated 5/18/2015 re: Fatico Letter. ENDORSEMENT:
               Ordered: Post on Docket. (Signed by Judge Katherine B. Forrest on Lindsay A. Lewis)(ft)
           247 Filed & Entered:                                       05/19/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. As neither side is seeking a Fatico hearing in this matter, the hearing currently scheduled for Friday, May 22, 2015, at 9:00 a.m. is adjourned.
               Sentencing is scheduled for Friday, May 29, 2015, at 1:00 p.m. Sentencing submissions from the defendant are due May 22, 2015. Government submissions are due May 26, 2015. SO
               ORDERED. (Brief due by 5/22/2015, Responses due by 5/26/2015, Sentencing set for 5/29/2015 at 01:00 PM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest on
               5/19/2015)(ft)
           248 Filed & Entered:                                       05/19/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Government has indicated that it has access to a computer with a searchable copy of the Silk Road website. On May 20, 2015, at 4:40
               p.m., the Court will hold a conference in Chambers to view the website and run various searches. If defense counsel believe that defendant's presence is necessary, they shall make appropriate
               arrangements. SO ORDERED. (Status Conference set for 5/20/2015 at 04:40 PM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest on 5/19/2015)(ft)
           249 Filed & Entered:                                       05/20/2015 Order




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               Docket Text: ORDER as to Ross William Ulbricht. The Court has been reviewing the mitigation materials provided by defendant and has several questions. (*** See this Order complete text.
               ***). (Signed by Judge Katherine B. Forrest on 5/20/2015)(bw)
           250 Filed & Entered:                                        05/20/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Timothy T. Howard dated 5/19/2015 re: Please find a copy of the article requested. (ft)
               Filed & Entered:                                        05/26/2015 Note Regarding Deleted Document
               Docket Text: ***DELETED DOCUMENT. Deleted document number 254, as to Ross William Ulbricht. The document was incorrectly filed in this case. (jp)
           252 Filed & Entered:                                        05/26/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 22, 2015 re: CORRECTED Sentencing Letter on
               Behalf of Ross Ulbricht. (Attachments: # (1) Exhibit 1-- Letter of Ross Ulbricht, # (2) Exhibit 2-- Letters on Behalf of Ross Ulbricht (Part 1), # (3) Exhibit 2-- Letters on Behalf Of Ross
               Ulbricht (Part 2), # (4) Exhibit 2--Letters on Behalf Of Ross Ulbricht (Part 3), # (5) Exhibit 2--Letters on Behalf Of Ross Ulbricht (Part 4), # (6) Exhibit 2--Letters on Behalf Of Ross Ulbricht
               (Part 5), # (7) Exhibit 3-- Email Re Dr X, # (8) Exhibit 4 -- Photos of Mr. Ulbricht With Family and Friends)(Dratel, Joshua)
           253 Filed & Entered:                                        05/26/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. Do defense counsel have, and can they allow the Court to temporarily borrow, the following book in hard copy: Jonathan P. Caulkins et al.,
               Rand Drug Policy Research Center, Mandatory Minimum Drug Sentences: Throwing Away the Key or the Taxpayers Money? (1997). This book is cited at page 54 of defendants sentencing
               submission. SO ORDERED. (Signed by Judge Katherine B. Forrest on 5/26/2015)(ft)
           255 Filed & Entered:                                        05/26/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 5/26/2015 re: Removal of #251. ENDORSEMENT: So
               ordered. Dkt. #251 to be removed (& replaced). (Signed by Judge Katherine B. Forrest on 5/26/2015)(ft)
           256 Filed & Entered:                                        05/26/2015 Sentencing Submission
               Docket Text: SENTENCING SUBMISSION by USA as to Ross William Ulbricht. (Attachments: # (1) Exhibit A, # (2) Exhibit B, # (3) Exhibit C, # (4) Exhibit D, # (5) Exhibit E, # (6) Exhibit
               F, # (7) Exhibit G, # (8) Exhibit H, # (9) Exhibit I)(Turner, Serrin)
           257 Filed & Entered:                                        05/26/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 05/26/2015 re: Victim Impact Letters. (Attachments: #
               (1) victim letter from father of Bryan B, # (2) victim letter from sister of Bryan B, # (3) victim letter from mother of Preston B, # (4) victim letter from father of Preston B, # (5) victim letter
               from mother of Jacob L)(Turner, Serrin)
               Filed & Entered:                                        05/27/2015 Remark
               Docket Text: As requested in the Government's submission, dated May 18, 2015, the DVD-ROM accompanying the submission will be filed under seal. (jp)
           258 Filed & Entered:                                        05/27/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht: The parties are advised that the Court is considering whether any of Counts 1 to 4 are duplicative for sentencing purposes and whether
               Congress intended separate punishments for each. See, e.g., Rutledge v. United States, 517 U.S. 292 (1996) (even concurrent sentences may create issues). In particular, the Court is
               considering whether Counts 1 and 2, which are based on the same conduct, are duplicative for sentencing purposes, and whether Counts 3 and 4 are. If the parties have views on this issue, they
               should provide their views in writing not later than May 28, 2015 at noon. (Signed by Judge Katherine B. Forrest on 5/27/2015)(jp)
           259 Filed & Entered:                                        05/27/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 05/27/2015 re: Lesser Included Offenses to Be Dismissed at
               Sentencing Document filed by USA. (Turner, Serrin)
           260 Filed & Entered:                                        05/27/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated May 27, 2015 re: questions posed in the Court's May 20,
               2015, Order regarding the mitigation materials relevant to Mr. Ulbricht's sentencing. (Attachments: # (1) Exhibit 1-- Additional Weekly Reports to DPR, # (2) Exhibit 2-- Buyer Questionnaire,
               # (3) Exhibit 3-- Vendor Questionnaire, # (4) Exhibit 4-- Dr. X Thread Excerpts)(Lewis, Lindsay)
           261 Filed & Entered:                                        05/28/2015 Letter




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               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 28, 2015 re: whether certain Counts in the Superseding
               Indictment are duplicative for sentencing purposes (Dratel, Joshua)
           262 Filed & Entered:                                       05/28/2015 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 05/28/2015 re: Proposed Order of Forfeiture Document filed
               by USA. (Attachments: # (1) Text of Proposed Order)(Turner, Serrin)
           263 Filed & Entered:                                       05/28/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 28, 2015 re: Reply to the Government's Sentencing
               Letter. (Attachments: # (1) Exhibit 5 -- Letter of Michael Van Praagh, # (2) Exhibit 6 -- Letter of Joseph Ernst, # (3) Exhibit 7 -- Dr. Mark L. Taff Formal Report)(Lewis, Lindsay)
           264 Filed & Entered:                                       05/28/2015 Redacted Document
               Docket Text: REDACTION byRoss William Ulbricht to [263] Letter - Sentencing, filed by Ross William Ulbricht (Dratel, Joshua)
           265 Filed & Entered:                                       05/28/2015 Letter - Sentencing
               Docket Text: Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel, Esq. dated May 28, 2015 re: Additional Letter in Support of Ross
               Ulbricht from Elizabeth Oden. (Attachments: # (1) Exhibit Letter of Elizabeth Oden)(Dratel, Joshua)
           267 Filed:                                                 05/28/2015 Endorsed Letter
               Entered:                                               05/29/2015
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 5/28/2015 re: Removal of Exhibit #7 to Docket #263.
               ENDORSEMENT: ORDERED. Application granted. (Signed by Judge Katherine B. Forrest on 5/28/2015)(ft)
           266 Filed & Entered:                                       05/29/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated May 29, 2015 re: Torchat Logs referenced in Mr. Ulbricht's reply
               to the government's sentencing letter (Attachments: # (1) Exhibit 1 -- Excerpt from Torchat Log gx5of53tpzvvjwbn, # (2) Exhibit 2--Excepts from Torchat Log "tv32")(Lewis, Lindsay)
           268 Filed & Entered:                                       05/29/2015 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated May 29, 2015 re: Correction Regarding the Requested
               Designation Recommendation by the Court to the Bureau of Prisons (Lewis, Lindsay)
               Filed & Entered:                                       06/01/2015 Sentencing
               Docket Text: Minute Entry for proceedings held before Judge Katherine B. Forrest: Sentencing held on 6/1/2015 for Ross William Ulbricht (1) Count 2s,4s,5s,6s,7s. (ajc)
               Filed & Entered:                                       06/01/2015 Dismissal of Counts on Government Motion
               Docket Text: DISMISSAL OF COUNTS on Government Motion as to Ross William Ulbricht (1) Count 1,1s,2,3,3s,4. (ajc)
           269 Filed & Entered:                                       06/01/2015 Judgment
               Docket Text: JUDGMENT as to Ross William Ulbricht (1), Count(s) 1, 1s, 2, 3, 3s, 4, Count is dismissed on the motion of the United States. Count(s) 2s, The defendant is hereby committed to
               the custody of the United States Bureau of Prisons to be imprisoned for a total term of. For a Count(s) 4s, The defendant is hereby committed to the custody of the United States Bureau of
               Prisons to be imprisoned for a total term of: Life to run concurrently; Count (5): Five (5) Years to run concurrently; Count Six (6): Fifteen (15) Years to run concurrently; Count Seven (7):
               Twenty (20) Years to run concurrently. The court makes the following recommendations to the Bureau of Prisons: PLEASE SEE ADDITIONAL IMPRISONMENT TERMS PAGE FOR
               RECOMMENDATIONS. ADDITIONAL IMPRISONMENT TERMS; It is respectfully recommended that the defendant be designated to FCI Petersburg I in Virginia in the event that the
               Bureau of Prisons waive the public safety factor with regard to sentence length. However, if the Bureau of Prisons is not inclined to waive the public safety factor, it is respectfully
               recommended that the defendant be designated to USP Tuscon, in Arizona, or, as a second choice, USP Coleman II, in Florida. Upon release from imprisonment, the defendant shall be on
               supervised release for a term of: Life on Counts Two (2) and Four (4) to run concurrently; Three (3) Years on Counts Five (5), Six (6) and Seven (7) to run concurrently.; Count(s) 5s, The
               defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: Counts Two (2) and Four (4): Life to run concurrently; Count (5): Five
               (5) Years to run concurrently; Count Six (6): Fifteen (15) Years to run concurrently; Count Seven (7): Twenty (20) Years to run concurrently. Upon release from imprisonment, the defendant
               shall be on supervised release for a term of: Life on Counts Two (2) and Four (4) to run concurrently; Three (3) Years on Counts Five (5), Six (6) and Seven (7) to runconcurrently.
               ADDITIONAL SUPERVISED RELEASE TERMS; The defendant shall submit his computer, person and place of residence to searched as deemed appropriate by the Probation Department.
               The defendant must pay the total criminal monetary penalties, $500 special assessment, lump sum payment of $500 due immediately, balance due. ADDITIONAL TERMS FOR CRIMINAL
               MONETARY PENALTIES; Forfeiture in the amount of $183,961,921.00 is Ordered. (Signed by Judge Katherine B. Forrest on 6/1/15)(ajc)




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           270 Filed & Entered:                                       06/02/2015 Motion for Miscellaneous Relief
               Terminated:                                            06/03/2015
               Docket Text: MOTION for an Order, pursuant to Rule 38(b)(2), Fed.R.Crim.P., recommending that Mr. Ulbricht's custody be retained at the Metropolitan Correctional Center in New York City
               pending his direct appeal . Document filed by Ross William Ulbricht. (Lewis, Lindsay)
           271 Filed & Entered:                                       06/02/2015 Declaration in Support of Motion
               Docket Text: DECLARATION of Lindsay A. Lewis, Esq. in Support as to Ross William Ulbricht re: [270] MOTION for an Order, pursuant to Rule 38(b)(2), Fed.R.Crim.P., recommending that
               Mr. Ulbricht's custody be retained at the Metropolitan Correctional Center in New York City pending his direct appeal .. (Attachments: # (1) Exhibit 1-- Judgment)(Lewis, Lindsay)
           272 Filed & Entered:                                       06/03/2015 Order on Motion for Miscellaneous Relief
               Docket Text: ORDER granting [270] Motion, Custody Location as to Ross William Ulbricht (1). SO ORDERED. New York, New York June 3, 2015, KATHERINE B. FORREST, United
               States District Judge. (Signed by Judge Katherine B. Forrest on 6/3/15) (ajc)
           273 Filed & Entered:                                       06/03/2015 Order for Forfeiture of Property
               Docket Text: PRELIMINARY ORDER OF FORFEITURE/MONEY JUDGMENT as to Ross William Ulbricht. NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND
               DECREEDTHAT:1. As a result of the offenses charged in Counts Onethrough Seven of the Indictment, to which the defendant wasfound guilty, a money judgment in the amount of
               $183,961,921 inUnited States currency (the "Money Judgment") shall be enteredagainst the defendant, representing (a) proceeds obtained as aresult of, and property used or intended to be used
               in anymanner or part to commit or to facilitate the commission of, oneor more of the offenses alleged in Counts One through Four ofthe Indictment; (b) proceeds obtained directly or indirectly
               asa result of the offenses alleged in Counts Five and Six of theIndictment; and (c) property involved in the offense alleged inCount Seven of the Indictment, or property traceable to
               suchproperty. Pursuant to Rule 32. 2(b)(4) of the Federal Rulesof Criminal Procedure, upon entry of this Preliminary Order ofForfeiture/Money Judgment, this Preliminary Order
               ofForfeiture/Money Judgment is final as to the defendant, ROSS WILLIAM ULBRICHT, a/k/a "Dread Pirate Roberts," a/k/a "DPR," a/k/a ''Silk Road," and shall be deemed part of the
               sentence of the defendant, and shall be included in the judgment of conviction therewith. (Signed by Judge Katherine B. Forrest on 6/3/2015)(jw)
               Filed & Entered:                                       06/04/2015 Transmission of Notice of Appeal and Docket Sheet to USCA
               Terminated:                                            09/06/2017
               Docket Text: Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Ross William Ulbricht to US Court of Appeals re: [274] Notice of Appeal - Final Judgment. (nd)
               Filed & Entered:                                       06/04/2015 Appeal Record Sent to USCA - Electronic File
               Terminated:                                            09/06/2017
               Docket Text: Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files as to Ross William Ulbricht re: [274] Notice of Appeal - Final Judgment were
               transmitted to the U.S. Court of Appeals. (nd)
           274 Filed & Entered:                                       06/04/2015 Notice of Appeal - Final Judgment
               Terminated:                                            09/06/2017
               Docket Text: NOTICE OF APPEAL by Ross William Ulbricht from [269] Judgment, [273] Preliminary Order for Forfeiture of Property. Filing fee $ 505.00, receipt number 465401127234.
               (nd)
           275 Filed & Entered:                                       06/05/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
           276 Filed & Entered:                                       06/05/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (nm)
               Filed & Entered:                                       06/10/2015 Payment of Special Assessment
               Docket Text: Payment of Special Assessment $500 from Ross William Ulbricht in the amount of $500. Date Received: 6/10/2015. (ew)
           277 Filed & Entered:                                       06/30/2015 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Sentence held on 5/29/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Pamela Utter, (212)
               805-0300, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 7/24/2015. Redacted Transcript Deadline set for 8/3/2015. Release of Transcript Restriction set for 10/1/2015. (McGuirk, Kelly)
           278 Filed & Entered:                                       06/30/2015 Notice of Filing Transcript




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               Docket Text: NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht. Notice is hereby given that an official transcript of a Sentence proceeding held on 5/29/2015
               has been filed by the court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
               transcript. If no such Notice is filed, the transcript may be made remotely electronically available to the public without redaction after 90 calendar days.... (McGuirk, Kelly)
           279 Filed & Entered:                                        07/28/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (rz)
           280 Filed & Entered:                                        08/31/2015 Letter Motion
               Terminated:                                             09/11/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from the Government dated 08/31/2015 re: Corrections to Transcript and Unsealing of Certain Materials . Document
               filed by USA as to Ross William Ulbricht. (Attachments: # (1) Exhibit A, # (2) Exhibit B)(Turner, Serrin)
           281 Filed & Entered:                                        09/02/2015 Letter Motion
               Terminated:                                             09/11/2015
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Lindsay A. Lewis, Esq. dated September 2, 2015 re: opposing the government's request to unseal the redacted
               portions of the Courts December 22, 2014, Memorandum Opinion and the two ex parte letters from Mr. Ulbrichts counsel referenced in the Opinion . Document filed by Ross William Ulbricht.
               (Lewis, Lindsay)
           282 Filed & Entered:                                        09/04/2015 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated 9/2/2015 re: Reschedule Telephonic
               conference....ENDORSEMENT: Conference adjourned to 9/16/2015 at 5:15pm. Answer/response to complaint extended to 9/21/15(Answer/ Responses due by 9/21/2015, Telephone
               Conference set for 9/16/2015 at 05:15 PM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest on 9/3/2015)(jw)
           283 Filed & Entered:                                        09/11/2015 Order on Letter Motion
               Docket Text: ORDER terminating [280] LETTER MOTION as to Ross William Ulbricht (1); terminating [281] LETTER MOTION as to Ross William Ulbricht (1). The Court has reviewed
               the Governments letter motion dated August 31, 2015 and defendants letter in opposition dated September 2, 2015. As to the requested corrections to the transcript, the Court notes that there
               arepage and line number discrepancies and typographical errors in the proposedcorrections. The parties shall make the appropriate changes and submit a new version to the Court. The Clerk of
               Court is directed to terminate the motions at ECF No. 280 and 281. (Signed by Judge Katherine B. Forrest on 9/11/15) (jw)
           284 Filed & Entered:                                        10/05/2015 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (mps)
           285 Filed & Entered:                                        10/07/2015 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court notes that there are page and line number differences between the transcripts that the Court has and the ones that the U.S.
               Attorneys Office has. The parties shall work with the Court Reporters to make the appropriate changes on the attached pages; such changes are allowed (Signed by Judge Katherine B. Forrest
               on 10/7/2015)(jw)
           286 Filed & Entered:                                        10/07/2015 Endorsed Letter
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on E-Mail addressed to Chambers of Judge Katherine B. Forrest from AUSA Serrin Turner dated 10/5/2015 05:32 PM re:
               Proposed revised corrections. Pursuant to discussions with chambers, I am attaching a revised version of the Government's proposed corrections to the Ulbricht trial transcript. Changes to the
               original version (which are slight) are reflected in red. If there are any additional revisions to the corrections that chambers believes should be made, please let me know and I can make them
               before filing the revised corrections on ECF. ENDORSEMENT: Post to docket. (Signed by Judge Katherine B. Forrest on 10/7/2015)(bw)
           287 Filed & Entered:                                        01/06/2016 Internet Citation
               Docket Text: INTERNET CITATION NOTE as to Ross William Ulbricht: Material from decision with Internet citation re: [42] Memorandum & Opinion. (Attachments: # (1) Internet Citation,
               # (2) Internet Citation, # (3) Internet Citation, # (4) Internet Citation, # (5) Internet Citation, # (6) Internet Citation, # (7) Internet Citation) (sj)
           288 Filed & Entered:                                        02/23/2016 Letter
               Docket Text: LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the Government dated 02/23/2016 re: Termination of Appearance Document filed by
               USA. (Turner, Serrin)
           289 Filed & Entered:                                        02/24/2016 Endorsed Letter




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               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Serrin Turner dated 2/23/2016 re: The Government respectfully requests that the
               Court order the Clerk to terminate the appearance of undersigned counsel in this matter. AUSA Timothy Howard will remain counsel of record in the case..ENDORSEMENT: SO ORDERED.
               (Signed by Judge Katherine B. Forrest on 2/23/2016)(jw)
           290 Filed & Entered:                                        06/07/2016 Notice of Attorney Appearance - USA
               Docket Text: NOTICE OF ATTORNEY APPEARANCE Michael Daniel Neff appearing for USA. (Neff, Michael)
               Filed & Entered:                                        06/09/2016 Transmission to Sealed Records Clerk
               Docket Text: Transmission to Sealed Records Clerk: as to Ross William Ulbricht. Transmitted re: [292] Order on Letter Motion, to the Sealed Records Clerk for the sealing or unsealing of
               document or case. (bw)
           291 Filed & Entered:                                        06/09/2016 Letter Motion
               Terminated:                                             06/09/2016
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Tim Howard, Eun Young Choi, and Michael Neff dated June 9, 2016 re: Limited unsealing of certain materials
               for purpose of responding to defendant's arguments on appeal . Document filed by USA as to Ross William Ulbricht. (Neff, Michael)
           292 Filed & Entered:                                        06/09/2016 Order on Letter Motion
               Docket Text: MEMO ENDORSEMENT granting [291] LETTER MOTION filed by USA as to Ross William Ulbricht (1), addressed to Judge Katherine B. Forrest from AUSAs Tim Howard,
               Eun Young Choi, and Michael Neff, dated June 9, 2016 re: Limited unsealing of certain materials for purpose of responding to defendant's arguments on appeal. In an abundance of caution, the
               Government respectfully writes to make a limited unsealing request in this case. The Government seeks to ensure that it may publicly respond in its brief on appeal to the defendant's arguments
               on appeal, without running afoul of prior sealing orders of the Court. Specifically, the Government requests that the Court unseal seven sets of documents --- five applications and orders
               authorizing pen registers and/or trap and trace devices, and two search warrants and associated applications (one to Facebook, and one to Google)---for the limited purpose of permitting the
               Government to respond on appeal. Each set of documents was sworn out and issued in this District by Magistrate Judges, and produced to the defense during discovery. See 13 Mag. 2228 (pen
               register/trap and trace order dated 9/16/2013, signed by Magistrate Judge Henry Pitman); 13 Mag. 2236 (pen register/trap and trace order dated 9/17/2013, signed by Magistrate Judge Henry
               Pitman); 13 Mag. 2258 (pen register/trap and trace order dated 9/19/2013, signed by Magistrate Judge Henry Pitman); 13 Mag. 2274 (pen register/trap and trace order dated 9/20/2013, signed
               by Magistrate Judge Debra Freeman); 13 Mag. 2275 (pen register/trap and trace order dated 9/20/2013, signed by Magistrate Judge Debra Freeman); 13 Mag. 2408 (Facebook search warrant
               dated 10/8/2013, signed by Magistrate Judge Gabriel W. Gorenstein); 13 Mag. 2409 (Google search warrant dated 10/8/2013, signed by Magistrate Judge Gabriel W. Gorenstein). The defense
               consents to the Government's request. ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on 6/9/2016) (bw)
           293 Filed & Entered:                                        12/07/2016 Sealed Document
               Docket Text: SEALED DOCUMENT placed in vault. (mps)
               Filed & Entered:                                        06/23/2017 Notice Regarding Pro Hac Vice Motion
               Docket Text: >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. [294] MOTION for Paul Grant to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
               number 0208-13822926. Motion and supporting papers to be reviewed by Clerk's Office staff.. The document has been reviewed and there are no deficiencies. (wb)
           294 Filed & Entered:                                        06/23/2017 Motion to Appear Pro Hac Vice
               Terminated:                                             06/29/2017
               Docket Text: MOTION for Paul Grant to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-13822926. Motion and supporting papers to be reviewed by Clerk's Office staff.
               Document filed by Ross William Ulbricht. (Attachments: # (1) Affidavit Declaration in support of motion, # (2) Exhibit Certificate of Good Standing, # (3) Text of Proposed Order Proposed
               Order)(Grant, Paul)
           295 Filed & Entered:                                        06/29/2017 Order
               Docket Text: ORDER FOR ADMISSION PRO HAC VICE: as to Ross William Ulbricht. The motion of Paul Grant for admission to practice Pro Hac Vice in the above-captioned action is
               granted. Applicant has declared that he is a member in good standing at the bar of the state of Colorado; and that his contact information is as follows: Applicant's Name: Paul Grant,...[See this
               Order]... Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel for Ross William Ulbricht in the above-entitled action; IT IS HEREBY ORDERED that
               Applicant is admitted to practice Pro Hac Vice in the above-captioned case in the United States District Court for the Southern District of New York All attorneys appearing before this Court
               are subject to the Local Rules of this Court, including the Rules governing the discipline of attorneys. (Signed by Judge Katherine B. Forrest on 6/29/2017)(bw)
           296 Filed & Entered:                                        09/06/2017 USCA Mandate - Final Judgment Appeal
               Docket Text: MANDATE of USCA (Certified Copy) as to Ross William Ulbricht re: [274] Notice of Appeal. USCA Case Number 15-1815. Ordered, Adjudged and Decreed that the judgment
               of the District Court is AFFIRMED. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate: 09/06/2017. (Attachments: # (1) Opinion)(nd)




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               Filed & Entered:                                    02/05/2018 Notice to Attorney to Re-File Document - Deficient Docket Entry Error
               Docket Text: ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET ENTRY ERROR as to Ross William Ulbricht: Notice to Attorney Paul Grant to
               RE-FILE Document [297] FIRST MOTION to Disqualify Judge Forrest.. ERROR(S): Filing Error of Attachments. Supporting dcouments must be filed individually. Event codes
               located under Replies, Opposition and Supporting documents.***NOTE: Separate docket entry for each. (ka)
               Filed & Entered:                                    02/05/2018 Notice to Attorney to Re-File Document - Event Type Error
               Docket Text: NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR as to Ross William Ulbricht: Notice to Attorney Paul Grant to RE-FILE Document
               [299] FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 5, 2018 re: Partial Unsealing of Magistrate Files 13MAG2258,
               13MAG2274, 13MAG2275., [298] FIRST MOTION for Extension of Time to File Rule 33 Motion for New Trial.. Use the event type Letter Motion found under the event list Motions.
               (ka)
           297 Filed & Entered:                                    02/05/2018 Motion to Disqualify Judge
               Terminated:                                         02/05/2018
               Docket Text: FILING ERROR - DEFICIENT DOCKET ENTRY - FIRST MOTION to Disqualify Judge Forrest. Document filed by Ross William Ulbricht. (Attachments: # (1)
               Memorandum of Law, # (2) Declaration, # (3) Exhibit Exhibit 1, # (4) Exhibit Exhibit 2, # (5) Declaration)(Grant, Paul) Modified on 2/5/2018 (ka).
           298 Filed & Entered:                                    02/05/2018 Motion for Extension of Time to File
               Terminated:                                         02/05/2018
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST MOTION for Extension of Time to File Rule 33 Motion for New Trial. Document filed by
               Ross William Ulbricht. (Attachments: # (1) Declaration)(Grant, Paul) Modified on 2/5/2018 (ka).
           299 Filed & Entered:                                    02/05/2018 Letter Motion
               Terminated:                                         02/05/2018
               Docket Text: FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated
               February 5, 2018 re: Partial Unsealing of Magistrate Files 13MAG2258, 13MAG2274, 13MAG2275. Document filed by Ross William Ulbricht. (Attachments: # (1) Declaration)(Grant, Paul)
               Modified on 2/5/2018 (ka).
           300 Filed & Entered:                                    02/05/2018 Motion to Disqualify Judge
               Terminated:                                         02/05/2018
               Docket Text: FIRST MOTION to Disqualify Judge Forrest. Document filed by Ross William Ulbricht. (Grant, Paul)
           301 Filed & Entered:                                    02/05/2018 Memorandum in Support of Motion
               Docket Text: MEMORANDUM in Support by Ross William Ulbricht re [300] FIRST MOTION to Disqualify Judge Forrest.. (Grant, Paul)
           302 Filed & Entered:                                    02/05/2018 Declaration in Support of Motion
               Docket Text: DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: [300] FIRST MOTION to Disqualify Judge Forrest.. (Attachments: # (1) Exhibit Exhibit 1, # (2)
               Exhibit Exhibit 2)(Grant, Paul)
           303 Filed & Entered:                                    02/05/2018 Declaration in Support of Motion
               Docket Text: DECLARATION of Ross Ulbricht in Support as to Ross William Ulbricht re: [300] FIRST MOTION to Disqualify Judge Forrest.. (Grant, Paul)
           304 Filed & Entered:                                    02/05/2018 Letter Motion
               Terminated:                                         02/05/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 5, 2018 re: Recusal of Judge Forrest. Document filed by Ross William
               Ulbricht. (Grant, Paul)
           305 Filed & Entered:                                    02/05/2018 Letter Motion
               Terminated:                                         02/05/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 5, 2018 re: Partial Unsealing of Magistrate Files . Document filed by Ross
               William Ulbricht. (Grant, Paul)
           306 Filed & Entered:                                    02/05/2018 Declaration in Support of Motion




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               Docket Text: DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: [305] FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated
               February 5, 2018 re: Partial Unsealing of Magistrate Files .. (Grant, Paul)
           307 Filed & Entered:                                          02/05/2018 Motion for Extension of Time to File
               Terminated:                                               02/05/2018
               Docket Text: FIRST MOTION for Extension of Time to File Rule 33 Motion. Document filed by Ross William Ulbricht. (Grant, Paul) Modified on 2/6/2018 (ka). Modified on 2/6/2018 (ka).
           308 Filed & Entered:                                          02/05/2018 Declaration in Support of Motion
               Docket Text: DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: [307] FIRST MOTION for Extension of Time to File Rule 33 Motion.. (Grant, Paul)
           309 Filed & Entered:                                          02/05/2018 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Paul Grant dated 2/5/2018 re: Counsel writes requesting an extension of time in
               which to submit a Rule 33 Motion for a New Trial. ENDORSEMENT: Ordered: The motion to extend time for a Rule 33 motion is DENIED. A rule 33 motion is not an opportunity to re-
               litigate that which has been litigated, or to engage in a fishing expedition for new evidence. The Court appreciates that Mr. Grant was not involved in the trial, but the transcript reveals that the
               very evidence to which he now points (that the FBI was monitoring the defendant's online movements) was explicitly known at the trial. (See e.g., Tr. 319, et. seq.) This is not new news. As to
               an inability to obtain the file, that does not suggest any basis for a new trial or indeed, whatever is in the file was necessarily known to prior counsel. No good cause to delay the deadline has
               been shown. (Signed by Judge Katherine B. Forrest on 2/5/2018)(jp)
           310 Filed:                                                    02/05/2018 Memo Endorsement
               Entered:                                                  02/06/2018
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on re: [301] Memorandum in Support of Motion filed by Ross William Ulbricht. ENDORSEMENT as follows: This is
               frivolous and full of many misstatements of the record. It is denied without need for any further briefing. (Signed by Judge Katherine B. Forrest on 2/5/18)(jm)
           311 Filed:                                                    02/05/2018 Endorsed Letter
               Entered:                                                  02/06/2018
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Attorney Paul Grant dated 2/5/18 re: Requesting the unsealing of three (3)
               Magistrate files..ENDORSEMENT: In light of the Court's Order on the Rule 33 motion denying the extension, this is denied as Moot. (Signed by Judge Katherine B. Forrest on 2/5/18)(jm)
           312 Filed & Entered:                                          02/09/2018 Notice of Attorney Appearance - USA
               Docket Text: NOTICE OF ATTORNEY APPEARANCE Eun Young Choi appearing for USA. (Choi, Eun Young)
           313 Filed & Entered:                                          02/12/2018 Letter Motion
               Terminated:                                               02/13/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 12, 2018 re: That Three Items Be Added to the Public Docket . Document
               filed by Ross William Ulbricht. (Grant, Paul)
           314 Filed & Entered:                                          02/13/2018 Order on Letter Motion
               Docket Text: ORDER as to Ross William Ulbricht (1): The Court has received a letter motion dated February 12, 2018, requesting that various documents and records be added to the public
               docket. (ECF No. 313.) The Court notes that the record in this matter has long been closed, and that the appeal to the Second Circuit is complete. The appeal to the Supreme Court relies on the
               record as it was. In any event, this Court is particularly careful to ensure that all matters generally publicly filed have been. While voir dire transcripts are not routinely publicly filed, the Court
               GRANTS defendant's first (unopposed) request to file the transcript of the in-court jury voir dire. The transcript will be posted separately. As to defendants second and third requests, the Court
               notes that there were numerous conferences (again, as fully reflected in transcripts on the public docket) whereby every aspect of jury selection was placed fully before the parties, discussed,
               and agreed to. The Juror Questionnaire was sent numerous times to both the Government and the defendant for review and comment. The first page of the questionnaire stated in all caps and
               bold that "All information contained in this questionnaire will be kept confidential and under seal." Neither party noted any objection. However, to dispel a misconception, the jury in this case
               was not "anonymous." Counsel of record always had access to the names and addresses of the full venire panel. Accordingly, defendants' second and third requests are DENIED. SO
               ORDERED. (Signed by Judge Katherine B. Forrest on 2/13/2018) (lnl)
           315 Filed & Entered:                                          02/13/2018 Transcript
               Docket Text: TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Hearing held on 1/13/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio, (914)
               390-4053, Transcript may be viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date it
               may be obtained through PACER. Redaction Request due 3/6/2018. Redacted Transcript Deadline set for 3/16/2018. Release of Transcript Restriction set for 5/14/2018. (lnl)




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           316 Filed & Entered:                                        02/20/2018 Letter Motion
               Terminated:                                             02/21/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 20, 2018 re: [309] Endorsed Letter, Terminate Motions,,,,,,,, re:
               Reconsideration . Document filed by Ross William Ulbricht. (Attachments: # (1) Affidavit)(Grant, Paul)
           317 Filed & Entered:                                        02/20/2018 Letter Motion
               Terminated:                                             02/21/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 20, 2018 re: [310] Memo Endorsement, re: Reconsideration . Document filed
               by Ross William Ulbricht. (Grant, Paul)
           318 Filed & Entered:                                        02/20/2018 Letter Motion
               Terminated:                                             02/21/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 20, 2018 re: [310] Memo Endorsement, re: Rehearing . Document filed by
               Ross William Ulbricht. (Attachments: # (1) Affidavit)(Grant, Paul)
           319 Filed & Entered:                                        02/21/2018 Order on Letter Motion
               Docket Text: MEMO ENDORSEMENT denying [316] FIRST LETTER MOTION filed by Ross William Ulbricht (1), addressed to Judge Katherine B. Forrest from Attorney Paul Grant dated
               February 20, 2018 re: [309] Endorsed Letter, Terminate Motions re: Reconsideration. Petition for Rehearing Re Denial of Request for Extension of Time to Submit Rule 33 Motion.
               ENDORSEMENT: Denied. (Signed by Judge Katherine B. Forrest on 2/21/2018) (bw)
           320 Filed & Entered:                                        02/21/2018 Order on Letter Motion
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht (1) denying [318] FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated February 20,
               2018 re: 310 Memo Endorsement, re: Rehearing. ENDORSEMENT: Denied. Ordered. (Signed by Judge Katherine B. Forrest on 2/21/2018) (lnl)
           321 Filed & Entered:                                        02/26/2018 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Attorney Paul Grant dated February 26, 2018 re: I am requesting an order from
               the court to allow me to obtain copies of the sealed documents filed in the above-referenced case. I have received only limited cooperation from prior counsel in this case and I know that I have
               not been provided with copies of all of the sealed documents. ENDORSEMENT: Work with the Government as appropriate to identify specific documents. (Signed by Judge Katherine B.
               Forrest on 2/26/2018)(bw)
           322 Filed & Entered:                                        02/27/2018 Letter
               Docket Text: LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from Joshua L. Dratel dated February 27, 2018 re: Endorsement of February 26, 2018 Letter from
               Paul Grant, Esq. (Docket #321) (Dratel, Joshua)
           323 Filed & Entered:                                        02/28/2018 Order
               Docket Text: ORDER as to Ross William Ulbricht: By letter dated February 26, 2018 (ECF No. 321), Paul Grant, counsel for defendant requested copies of the sealed documents filed in this
               action. On February 27, 2018, former counsel for Mr. Ulbricht, Joshua Dratel, wrote to the Court (ECF No. 322) indicating that he has already provided Mr. Grant with copies of all the sealed
               (or ex parte or otherwise publicly unavailable) filings. Accordingly, based upon Mr. Dratel's representation to the Court, Mr. Grant's request at ECF No. 321 is DENIED. SO ORDERED.
               (Signed by Judge Katherine B. Forrest on 2/28/2018) (lnl)
           324 Filed & Entered:                                        03/01/2018 Letter Motion
               Terminated:                                             05/01/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated March 1, 2018 re: [323] Order,, re: Reconsideration . Document filed by Ross William
               Ulbricht. (Grant, Paul)
           325 Filed & Entered:                                        03/01/2018 Memo Endorsement
               Docket Text: MEMO ENDORSEMENT as to Ross William Ulbricht on [324] FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated March 1, 2018 re: 323
               Order, re: Reconsideration. ENDORSEMENT: Does the Government know of any reason why this request for sealed records should not be granted. Ordered. (Signed by Judge Katherine B.
               Forrest on 3/1/2018) (lnl)
           326 Filed:                                                  03/09/2018 Notice of Appeal - Final Judgment
               Entered:                                                03/12/2018




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               Docket Text: NOTICE OF APPEAL by Ross William Ulbricht from [309] Endorsed Letter, Terminate Motions, [319] Order on Letter Motion,. Filing fee $ 505.00, receipt number
               465401203974. (nd)
               Filed & Entered:                                        03/12/2018 Transmission of Notice of Appeal and Docket Sheet to USCA
               Docket Text: Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Ross William Ulbricht to US Court of Appeals re: [326] Notice of Appeal. (nd)
               Filed & Entered:                                        03/12/2018 Appeal Record Sent to USCA - Electronic File
               Docket Text: Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files as to Ross William Ulbricht re: [326] Notice of Appeal were transmitted to
               the U.S. Court of Appeals. (nd)
           327 Filed & Entered:                                        03/23/2018 Response to Motion
               Docket Text: LETTER RESPONSE to Motion by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from AUSAs Timothy T. Howard and Eun Young Choi dated
               March 23, 2018 re: [324] FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated March 1, 2018 re: [323] Order,, re: Reconsideration .. (Choi, Eun Young)
           328 Filed:                                                  04/02/2018 Endorsed Letter
               Entered:                                                04/03/2018
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Joseph Pecorino from Mary Salcedo dated 3/29/2018 re: Sealed Filings. ENDORSEMENT: Ordered: The parties
               are to review the enclosed index and inform the Court and respond to which (if any) filings they do not have and seek. (Signed by Judge Katherine B. Forrest on 4/2/2018)(ft)
           329 Filed & Entered:                                        04/10/2018 Letter Motion
               Terminated:                                             05/01/2018
               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated April 10, 2018 re: [328] Endorsed Letter, re: Reconsideration . Document filed by Ross
               William Ulbricht. (Grant, Paul)
               Filed & Entered:                                        05/01/2018 Transmission to Sealed Records Clerk
               Docket Text: Transmission to Sealed Records Clerk: as to Ross William Ulbricht. Transmitted re: [330] Order to the Sealed Records Clerk for the sealing or unsealing of document or case. (ft)
           330 Filed & Entered:                                        05/01/2018 Order
               Docket Text: ORDER as to Ross William Ulbricht. Having carefully reviewed the request, the Court ORDERS as follows: Defendant may access the following sealed records: 6, 65, 99, 104,
               135, 136, 137, 138, 141, 143, 151, 152, 153, 158, 159, 161, 195, 225, 275, 276, 284, and 293. As to the following sealed ex parte records--15, 66, 91, 95, and 194the Court asks the
               Governments views. It appears the Court that, at the very least, Nos. 66, 91, and 95extensions of an ex parte protective Ordershould be made available to defendant. The Government shall
               submit a letter to the Court with its views not later than Friday, May 4, 2018. As to the additional documents, the Court notes as follows: ECF No. 182: should now be publicly available. As to
               ECF Nos. 47, 57, 110, and 127, the Court has no further information, but invites defense counsel to look through the sealed records listed above for anything that might address these issues. SO
               ORDERED. (Signed by Judge Katherine B. Forrest on 5/1/2018)(ft)
           331 Filed & Entered:                                        05/06/2018 Letter Motion
               Terminated:                                             05/07/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated May 5, 2018 re: [330] Order,,, re: Access to Sealed Record . Document filed by Ross
               William Ulbricht. (Grant, Paul)
               Filed & Entered:                                        05/07/2018 Note Regarding Deleted Document
               Docket Text: ***DELETED DOCUMENT. Deleted document number 333 ORDER, as to Ross William Ulbricht. The document was incorrectly filed in this case. [*** NOTE:
               Already docketed as document number 332. ***] (bw)
           332 Filed & Entered:                                        05/07/2018 Order
               Docket Text: ORDER as to Ross William Ulbricht. The Court does not retain exhibits for this or any other cases. All materials are either posted on the docket or filed with sealed records. In its
               Order issued earlier today, the Court has addressed the sealed records requests. The Court is not in possession of any of the other materials defendant requests in his letter of May 6, 2018. (ECF
               No. 331.) As to the spreadsheets requested, these spreadsheets are prepared by the parties; the Court does not separately retain copies. The Court does note, however, that the parties also have
               the questionnaires and the Courts Orders that referenced thequestionnaires (by juror number) to separate the jurors into waves. Therefore there is an alternate path to determine which juror may
               have answered which questions in what manner. SO ORDERED. (Signed by Judge Katherine B. Forrest on 5/7/2018)(ft)
           333 Filed & Entered:                                        05/29/2018 Letter Motion
               Terminated:                                             06/04/2018




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               Docket Text: LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated May 29, 2018 re: [330] Order,,, [329] LETTER MOTION addressed to Judge Katherine B.
               Forrest from Paul Grant dated April 10, 2018 re: [328] Endorsed Letter, re: Reconsideration . re: Copies of Sealed Records . Document filed by Ross William Ulbricht. (Grant, Paul)
           334 Filed:                                                  06/04/2018 Order on Letter Motion
               Entered:                                                06/05/2018
               Docket Text: MEMO ENDORSEMENT denying [333] LETTER MOTION Order regarding requests for Copies Sealed Documents as to Ross William Ulbricht...ENDORSEMENT...Denied.
               This Court will not vary rules of the Clerk's Office. You need to make appropriate arrangements (Signed by Judge Katherine B. Forrest on 6/4/18) (jw)
           335 Filed & Entered:                                        06/22/2018 Letter Motion
               Terminated:                                             07/03/2018
               Docket Text: FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated June 22, 2018 re: [334] Order on Letter Motion, re: Copies of Sealed Records .
               Document filed by Ross William Ulbricht. (Grant, Paul)
           336 Filed & Entered:                                        07/03/2018 Order on Letter Motion
               Docket Text: ORDER [335] LETTER MOTION Defendants new appellate counsel Paul Grant has had access to the vast majority of the sealed records in this case since, at the very latest, May
               1, 2018. (See ECF No. 330.) Nevertheless, the Court is in receipt of yet another request from Mr. Grant regarding such documents. Due to the voluminous nature of those records, the Court
               additionally ORDERS that Clerks Office personnel should not be responsible for actually creating those copies. Mr. Grant may create the copies himself using the copier available in the
               Records Management Office, and must pay any cost associated with making such copies. The Clerk of Court is directed to close the open motion at ECF No. 335. SO ORDERED. (Signed by
               Judge Katherine B. Forrest on 7/3/18) (jw)
           337 Filed & Entered:                                        07/31/2018 USCA Mandate - Final Judgment Appeal
               Docket Text: MANDATE of USCA (Certified Copy) as to Ross William Ulbricht. USCA Case Number 18-643. Petitioner has filed a petition for a writ of mandamus. Upon due consideration,
               it is hereby ORDERED that the petition is DENIED. First, Petitioner may not seek to overturn his convictions through a mandamus petition because the All Writs Act, which empowers this
               Court to grant mandamus relief, "is a residual source of authority to issue writs that are not otherwise covered by statute." Penn. Bureau of Corr. v. U.S. Marshals Serv., 474 U.S. 34, 43 (1985).
               Because Petitioner is a federal prisoner seeking to challenge the legality of his federal convictions, the relief he seeks is covered by statute: 28 U.S.C. § 2255. See Jiminian v. Nash, 245 F.3d
               144, 146-47 (2d Cir. 2001). Second, to the extent he seeks the district judge's recusal, Petitioner has not demonstrated that the issue could not have been effectively reviewed through an appeal
               or that his right to issuance of the writ is clear and indisputable. See Linde v. Arab Bank, PLC, 706 F.3d 92, 107 (2d Cir. 2013).. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit.
               Issued As Mandate: 07/31/2018. (nd)
           338 Filed & Entered:                                        08/08/2018 Endorsed Letter
               Docket Text: ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from Eun Young Choi/Michael D. Neff/Timothy Howard, dated 8/3/2018, re: The
               Government submits this letter to advise the Court that there are currently three related cases pending - one before each of Your Honors - each of which alleges participation, by the defendants,
               in the Silk Road. ENDORSEMENT: Ordered. This Judge does not deem 14 CR 68 "related to" (under our rules) any other case. (Signed by Judge Katherine B. Forrest on 8/8/2018) (lnl)


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